                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

 ERIN BULL, KATHRYN COLBERT,
 TAMIKA DAVIS, MISSAES DESJARDINS,
 EMILY GUGLIEMELLI, TRISTA HUB-
 BARD, CANDICE JACQUES, REZ’HANA
 MADDOX, SHERAY OMINYI, CANDACE
 PEGUES, BRANDI TAPIA, and THE CON-
 TRIBUTOR, INC., a Tennessee-based non-
                                                               Civil Action No. ______________
 profit corporation,
                                                               Class Action
         Plaintiffs,

                          v.

 CLARENCE H. CARTER, in his official
 capacity as Commissioner of the Tennessee
 Department of Human Services,

         Defendant.


            COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

       1.      The State of Tennessee persistently and systemically fails to determine eligibility

for Supplemental Nutrition Assistance Program (SNAP) benefits reliably or on time, in violation

of federal law. The State then compounds those violations by depriving affected households of

access to timely hearings and appeal decisions through which they might obtain redress. Tennes-

seans, like Plaintiffs, are being harmed as a result, including by going hungry, suffering from mal-

nutrition, forgoing payment on bills and medications, having lower credit scores, getting evicted,

and filing for bankruptcy. Plaintiffs have filed this action to force the State to process SNAP ap-

plications and appeals accurately and on time, hold hearings for lost benefits, and provide adequate

notices to participants, as required by federal law.

       2.      The Tennessee Department of Human Services (DHS), which Defendant oversees,

administers the eligibility and distribution of federal SNAP benefits, also known as food stamps,



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in Tennessee. SNAP is the nation’s principal defense against hunger and malnutrition. The pro-

gram serves as a lifeline for individuals with low incomes who struggle to secure their next meal.

Federal law requires state agencies to administer SNAP in a manner that ensures that applicants

and enrollees receive accurate determinations of their eligibility promptly and within established

deadlines. Federal law also directs the State to comply with notice and fair hearing requirements

that have been integral safeguards of constitutional Due Process for over half a century. When the

state agency fails to comply, as DHS chronically does here, individuals are harmed and must either

go hungry, skip meals, or find other ways to secure food—such as turning to any friends or family,

locating a food bank, or forgoing payment of other essential bills to pay for it.

       3.      And these systemic failures by DHS harm organizations that serve individuals ex-

periencing poverty—forcing non-profits like The Contributor and others to divert paid staff, sig-

nificant time, and resources to help navigate the SNAP system on behalf of the people they serve,

among other harms. Plaintiffs seek redress of Defendant’s violations of Due Process and the SNAP

Act (and its implementing regulations) pursuant to 42 U.S.C. § 1983 as set forth below.

       4.      Plaintiffs bring this action on behalf of themselves, and classes of similarly situated

low-income Tennesseans identified below, seeking declaratory relief, preliminary and permanent

injunctive relief, and other relief as set forth herein. Plaintiff Contributor brings this action on

behalf of itself as an organization. It seeks the same forms of relief.

                                   JURISDICTION AND VENUE

       5.      Jurisdiction is conferred on this Court by 28 U.S.C. § 1331, which provides for

jurisdiction over all civil suits involving questions of federal law, including actions under 42

U.S.C. § 1983 to redress the deprivation under color of state law of any rights, privileges, or im-

munities guaranteed by the United States Constitution and Acts of Congress.



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       6.        Plaintiffs seek declaratory, injunctive, and other appropriate relief pursuant to 28

U.S.C. § 2201 and 42 U.S.C. § 1983 as well as reasonable attorneys’ fees and costs under 42

U.S.C. § 1988.

       7.        Venue in the Middle District of Tennessee is proper pursuant to 28 U.S.C. §1391(b)

because a substantial part of the events or omissions giving rise to the claims occurred in the Dis-

trict. Defendant performs the official duties of his office at DHS’s principal offices, located at 505

Deaderick Street, Nashville, TN 37243, which is located within the District.

                                               PARTIES

       8.        Erin Bull is an adult resident of Bradley County, Tennessee.

       9.        Kathryn Colbert is an adult resident of Knox County, Tennessee.

       10.       Tamika Davis is an adult resident of Davidson County, Tennessee.

       11.       Missaes Desjardins is an adult resident of Davidson County, Tennessee.

       12.       Emily Gugliemelli is an adult resident of Bradley County, Tennessee.

       13.       Trista Hubbard is an adult resident of Knox County, Tennessee.

       14.       Candice Jacques is an adult resident of Davidson County, Tennessee.

       15.       Rez’hana Maddox is an adult resident of Davidson County, Tennessee.

       16.       Sheray Ominyi is an adult resident of Davidson County, Tennessee.

       17.       Candace Pegues is an adult resident of Shelby County, Tennessee.

       18.       Brandi Tapia is an adult resident of Davidson County, Tennessee.

       19.       The Contributor, Inc. is a Tennessee-based non-profit corporation that serves indi-

viduals experiencing poverty, including food insecurity. It was formed in 2007 and has its princi-

pal place of business located at 154 Representative John Lewis Way North, Nashville, TN 37219.




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   20.         Defendant Clarence H. Carter is sued in his official capacity as Commissioner of

the Tennessee Department of Human Services. DHS is the state agency responsible for adminis-

tering SNAP in Tennessee. See Tenn. Code Ann. § 71-5-304. Defendant Carter oversees DHS and

its administration of the SNAP program.

                         STATUTORY AND REGULATORY SCHEME

         21.   Congress established the federally funded, state-administered food stamp program

to “safeguard the health and well-being of the Nation’s population by raising levels of nutrition

among low-income households.” 7 U.S.C. § 2011. Congress enacted the program to “permit low-

income households to obtain a more nutritious diet . . . by increasing food purchasing power for

all eligible households who apply for participation.” Id.

         22.   In 2008, the program was renamed the Supplemental Nutrition Assistance Program

(SNAP, or the Program) pursuant to the Food and Nutrition Act of 2008, Pub. L. No. 110-246, §

4001-02, 122 Stat. 1651, 1853-60 (“the SNAP Act.”). The Program continues to provide benefits

to low-income individuals to help them purchase food.

         23.   The Food and Nutrition Service (FNS) of the United States Department of Agricul-

ture (USDA) is the agency that administers SNAP at the federal level. Congress has expressly

delegated to the Secretary of Agriculture, who oversees FNS, responsibility for issuing and en-

forcing regulations that implement the Act. 7 U.S.C. § 2013(c). States that elect to participate in

the Program determine eligibility for the Program and distribute benefits to eligible participants.

States receive 100% of funding for SNAP benefits and 50% of administrative costs from the fed-

eral government. 7 U.S.C. § 2013. Participating states must administer their programs in accord-

ance with federal statutory and regulatory requirements. See 7 U.S.C. § 2020(e), (g); see 7 C.F.R.

§ 273.2.



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       24.     Each state must designate a state agency responsible for administering SNAP and

complying with federal statutory and regulatory requirements. 7 U.S.C. § 2012(s)(1), 2020(a), (c),

and (d); 7 C.F.R. § 271.4. DHS is designated by state law as Tennessee’s state agency for the

administration of SNAP. Tenn. Code Ann. § 71-5-304.

       25.     Federal law concerning SNAP timeliness requirements “requires full compliance

absent what is hoped will be minimum human error.” Robertson v. Jackson, 766 F. Supp. 470, 476

(E.D. Va. 1991), aff’d, 972 F.2d 529 (4th Cir. 1992) (emphasis added) (applications); see Withrow

v. Concannon, 942 F.2d 1385, 1388 (9th Cir. 1991) (administrative appeal written decisions); see

also Haskins v. Stanton, 794 F.2d 1273, 1277 (7th Cir. 1986) (noting statutory text “literally re-

quires strict compliance with its provisions”); Garnett v. Zeilinger, 313 F.Supp.3d 147, 155

(D.D.C. 2018) (referring to the “[r]equirement for absolute compliance with the timelines for pro-

cessing “ as ‘flow[ing] from the statutory text itself””). And “[t]here is no exception in the [A]ct

or its legislative history … for bureaucratic difficulties or administrative backlog.” (citations omit-

ted); concur Hess v. Hughes, 500 F. Supp. 1054, 1059 (D. Md. 1980) (referring to original 1964

Food Stamp Act enactment and 1977 amendments, which 2008 amendments did not change).

                                Administration of SNAP in Tennessee

       26.     DHS administers SNAP in Tennessee pursuant to an agreement with FNS. The

agreement requires DHS to comply with all applicable federal laws, regulations and guidance,

subject to DHS’s limited ability to elect certain policy options and obtain waivers from FNS of

certain federal requirements.

       27.     DHS operates local offices in all 95 of Tennessee’s counties. DHS also operates a

statewide customer service call center known as OneDHS. OneDHS is also the name of the

agency’s online portal that provides customer access to select information and documents about



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their SNAP eligibility if an applicant or enrollee has access to the Internet and has set up an

account. If a SNAP application is linked to a person’s OneDHS account, the account is supposed

to provide information about any prior applications the person submitted and provide a brief

description as to the application’s status as well as electronic copies of eligibility appeals or

verifications the person submitted, and some eligibility notices, such as requests for verification

and notices of decision.

       28.     Individuals can apply for SNAP online through the OneDHS portal. They may also

submit a printed application by uploading or mailing a printed application to DHS, or by delivering

it in person to their local county office. If DHS requires additional documents to verify eligibility,

individuals may submit those documents by the same means.

       29.     DHS staff are responsible for scheduling and conducting interviews of all SNAP

applicants. Almost all such interviews are conducted by telephone.

                    Timely Processing Requirements for Initial Applications

       30.     As the state agency responsible for administering SNAP, DHS must process appli-

cations for benefits within federally mandated timelines. 7 U.S.C. § 2020(a)(1), (e)(3), (e)(4), and

(9). Generally, the application process includes filing and completing an application form, being

interviewed, and having certain information verified. 7 C.F.R. § 273.2(a)(2).

       31.     Eligibility is determined by “household,” which is defined as “(A) an individual

who lives alone or who, while living with others, customarily purchases food and prepares meals

for home consumption separate and apart from the others; or (B) a group of individuals who live

together and customarily purchase food and prepare meals together for home consumption.” 7

U.S.C. § 2012(m)(1). Households are typically family units.




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       32.     For most households, DHS must process applications and provide ongoing SNAP

benefits to eligible applicants no later than 30 days after the date of the application, 7 U.S.C. §

2020(e)(3), 7 C.F.R. §§ 273.2(a), (g)(1), 7 C.F.R. § 274.2(b), with the agency’s deadline for de-

livery of benefits being calculated from the date an application is received by the Department. 7

C.F.R. § 273.2(c)(1)(iv). If the hard copy or online application is received outside normal business

hours, DHS will consider the application received the next business day. Id. For telephonic appli-

cations, the application is received the date the applicant provides verbal assent. Id.

       33.     DHS is required to schedule interviews “as promptly as possible to insure eligible

households receive an opportunity to participate within 30 days after the application is filed” and

is required to accommodate the needs of groups with special circumstances to the extent practica-

ble. 7 C.F.R. § 273.2(e)(3). DHS is required to verify certain information from households and to

give households at least 10 days to provide a requested verification. 7 C.F.R. § 273.2(f).

       34.     DHS is prohibited from denying eligibility to an applicant for refusal to cooperate

without a finding that a missed interview was the result of the applicant’s refusal rather than the

mere failure to cooperate. 7 C.F.R. § 273.2(d)(1). A missed interview is not enough to constitute

refusal to cooperate and “[i]f there is any question as to whether the household has merely failed

to cooperate, as opposed to refused to cooperate, the household shall not be denied, and the agency

shall provide assistance[.]” Id. (emphasis added).

       35.     Certain households qualify for expedited processing, including those with very low

income and liquid resources, those whose housing costs exceed the sum of their income and liquid

resources, and certain migrant and seasonal-worker households. 7 U.S.C. § 2020(e)(9); 7 C.F.R. §

273.2(i). DHS must affirmatively identify households eligible for expedited service, 7 U.S.C. §

2020(e)(9), at the time of application. 7 C.F.R. § 273.2(i)(2).



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       36.     DHS is required to use special procedures for expediting certification and issuance

of expedited applications. 7 C.F.R. § 273.2(i)(4).

       37.     The amount of SNAP benefits for which a household is eligible is determined by

household size and by the household’s income, as adjusted for certain deductions and exclusions.

7 C.F.R. § 273.9. Benefits are distributed monthly, and when a household is eligible for only part

of a month, that month’s benefits are prorated according to the number of days of eligibility. 7

C.F.R. § 273.10.

       38.     When DHS determines that a household is eligible, it must certify their eligibility

for a minimum of six months and, for most households, no more than twelve months 7 U.S.C. §§

2012(f) and 273.10(f). For households consisting of individuals who are over age 60 or who have

a disability, the certification period is two years, subject to the agency’s obligation to contact the

household at least once in twelve months. 7 U.S.C. § 273.10(f)(1).

       39.     SNAP benefits are distributed electronically each month to eligible households.

Upon a determination of eligibility, DHS arranges for its contractor to issue the household an

electronic benefits transfer (EBT) card, similar to a debit card. Each month, DHS “loads” the new

monthly benefit onto the EBT card electronically. In order for household members to access their

SNAP benefits, they must have an activated EBT card and a personal identification number (PIN).

At the point of sale, the EBT card functions like a debit card. 7 C.F.R. §§ 274.2 and 274.3. Enrol-

lees can use the EBT card to purchase food at authorized grocers and retailers. Id.

       40.     Federal law requires that an eligible applicant must have “an opportunity to partic-

ipate” in the Program, meaning that the agency must provide households with an active EBT card

and PIN along with benefits available for spending. See 7 C.F.R. § 274.2(b). And for normal




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applications a household “has not been provided an opportunity to participate within the 30-day

standard if the EBT card or PIN is mailed on the 29th or 30th day.” Id. (emphasis added).

       41.     If DHS does not determine a household’s eligibility and provide an opportunity to

participate within 30 days following the date the application is filed, DHS must determine whether

the agency itself or the household was at fault using set criteria. 7 C.F.R. § 273.2(h)(1). Before a

household can be found at fault for a delay, DHS must have, among other things, offered or at-

tempted to offer assistance in completing the application, given the household at least 10 days

from the agency’s original request for a verification to provide it, and scheduled a second interview

if the first one was missed. Otherwise, fault for delay is attributed to DHS, not the household. 7

C.F.R. § 273.2(h)(1).

       42.     For households entitled to expedited service who are eligible for SNAP, DHS must

provide SNAP benefits no later than the seventh day following the date an application is filed,

rather than within the normal 30-day period. See 7 U.S.C. § 2020(e)(9); 7 C.F.R. § 273.2 (i)(1) and

(4). The applicant’s identity must be verified, but the issuance of SNAP benefits within the re-

quired seven days cannot be delayed solely due to a lack of verification of other eligibility factors,

including household residency, income, or liquid resources. 7 C.F.R. § 273.2(i)(4)(i).

       43.     DHS has set its own policy for processing timelines that take into account time for

mail delivery, for purposes of meeting the agency’s obligations under federal law. Policy 24.03,

Supplemental Nutrition Assistance Program (SNAP) Timeliness Standards, TENN. DEP’T OF HU-

MAN SERVS. (Feb. 1, 2022). In Tennessee, providing an opportunity to participate on time requires

mailing a loaded EBT card by the 27th calendar day following the application or 4th calendar day

for expedited processing. Id.




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                     Recertification Application Processing and Timeliness

         44.   To continue to receive SNAP benefits, recipients must complete a recertification

application. See 7 U.S.C. § 2020(e)(4).

         45.   The default length of certification period in Tennessee is six months, meaning that

most households go through recertification twice per year. And while individuals who are disabled

or elderly have a longer certification time (up to two years), they must still go through DHS’s

eligibility determination process again as long as they participate in the Program. Recurring delays

in the recertification process put enrollees at risk once again—especially for those certified at six

month intervals.

         46.   Prior to the end of a household’s certification period, DHS must provide a Notice

of Expiration (NOE), which contains, among other things, the date the certification period expires

and the date by which the household must submit an application for recertification in order to

receive uninterrupted benefits. See 7 U.S.C. § 2020(e)(4); 7 C.F.R. § 273.14(b)(1).

   47.         DHS must send the NOE prior to the start of the last month of the certification

period. 7 U.S.C. § 2020(e)(4); see also 7 C.F.R. §§ 273.10(g)(2) and 273.14(b)(1)(i) (laying out

additional parameters on timing). If an eligible household submits its application no later than 15

days prior to the end of its existing certification period, DHS must provide the first allotment under

the new certification no later than one month after the household received its last allotment under

the prior certification. See 7 U.S.C. § 2020(e)(4); 7 C.F.R. § 273.14(d).

   48.         Recertifications can be delayed or not completed on time due to the fault of DHS

or a household member. As with initial applications, DHS is required to determine whether the

delay is the fault of DHS or the enrollee. See 7 C.F.R. 273.14(e). If a recertification is delayed or

not completed on time, even if it is DHS’s fault, the household loses their benefits according to



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USDA and DHS policy. 7 C.F.R. § 273.14(a). (“No household may participate beyond the expira-

tion of the certification period assigned in accordance with § 273.10(f).”).

                                        Appeal Timeliness

       49.     DHS is required to provide “a fair hearing and a prompt determination thereafter

to any household aggrieved by any action of the State agency,” which affects the participation of

the household in the Program. 7 U.S.C. § 2020(e)(10) (italics added); 7 C.F.R. § 273.15. DHS

must hold a fair hearing and issue a written decision within 60 days of a request for a hearing. 7

C.F.R. § 273.15(c)(1). See 7 U.S.C. § 2020(e)(10). If a household requests a postponement, which

can be up to 30 days, DHS’s deadline to provide a written decision extends by the length of the

postponement. Id.

       50.     The statute, 7 U.S.C. § 2020(e)(10), and its implementing regulations embody due

process protections grounded in the Constitution. See Davis v. Mansfield Housing Authority, 751

F.2d 180, 187 (6th Cir. 1984), citing Goldberg v. Kelly, 397 U.S. 254, 261-64, 25 L. Ed. 2d 287,

90 S. Ct. 1011 (1970).

       51.     If an appeal results in an increase in benefits, DHS is obligated to post that increase

to an EBT card within 10 days of receipt of the written decision. 7 U.S.C. § 2020(e)(10).

       52.     Households whose benefits have not expired have the ability to request continua-

tion of benefits during the pendency of an appeal. 7 C.F.R. § 273.15(k). If the appellant requests

continuation of benefits and loses the appeal, DHS makes a claim against the appellant for any

overissuance. 7 C.F.R. § 273.15(k).

                               Restoration of Benefits Timeliness

       53.     Individuals who lose SNAP benefits may request restoration of benefits after 90

days from the date of agency action. Under 7 C.F.R. § 273.15(j)(1)(i), DHS is required to consider



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untimely requests for hearings as requests for restoration of lost benefits in accordance with §

273.17. 7 C.F.R. § 273.15(g), generally sets the time period for requesting a hearing of the agency

at 90 days, but expressly says “[a]ction by the State agency shall include a denial of a request for

restoration of benefits lost more than 90 days but less than a year prior to the request.”

       54.     Individuals can request correction of the underissuance under 7 C.F.R. § 273.17(a)

and then, when that request is denied (or ignored), request a hearing on the denial (or failure to act

with reasonable timeliness).

                                       Notice Requirements

       55.     DHS SNAP notices are subject to certain federal requirements. The agency is re-

quired to mail a notice of adverse action at least 10 days before an adverse action is taken. 7 C.F.R.

§ 273.13(a)(1).

       56.     DHS is required to “explain[] in easily understandable language: the proposed ac-

tion; the reason for the proposed action; and the household’s right to request a fair hearing…” 7

C.F.R. § 273.13(a)(2).

       57.     Further, consistent with Mullane v. Central Hanover Bank & Trust, 339 U.S. 306,

314 (1950) and its progeny, households facing the reduction or termination of SNAP benefits must

be provided with sufficient information to know whether to “acquiesce or contest” the agency’s

action, as an essential element of the constitutional right to Due Process.

       58.     In addition, DHS is required at the initial certification and recertification to provide

the household with a written and oral explanation of how simplified reporting works, a written and

oral explanation of the reporting requirements including the additional changes that must be ad-

dressed in the periodic report and verified, the date the report is due, how to obtain assistance in




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the filing of the periodic report, and the consequences of failing to file a report. 7 C.F.R. §

273.12(a)(5)(ii).

             ORGANIZATIONAL PLAINTIFF’S FACTUAL ALLEGATIONS

                                          The Contributor

       59.     The Contributor is a non-profit social enterprise whose mission is to empower

Nashvillians experiencing poverty to achieve income, dignity, housing, and community. The Con-

tributor partly fulfills that mission by publishing a newspaper of the same name. The organization

sells the newspaper to unhoused people who work for themselves as vendors of the newspaper.

The publication features writing by respected local journalists and by the vendors themselves—

providing an important voice and perspective for the community. Vendors learn how to sell the

papers to the public, keep the money they earn, and then buy more newspapers from The Contrib-

utor as needed to replace their stock.

       60.     The Contributor’s vendors are all currently or recently unhoused. Many have no

phones or Internet access, have limited literacy or knowledge of computers, and have no fixed

address. Many have serious physical or mental disabilities, and almost all have experienced serious

trauma. One of the ways that the Contributor helps these vendors find and maintain housing is to

help provide and maintain access to other social services. These services help vendors regain and

maintain financial stability, rejoin their community, and achieve a better quality of life. Through

its work, The Contributor has seen that those who have access to SNAP specifically are more likely

to have positive outcomes and regain and maintain financial stability.

       61.      In addition to donations and philanthropic grants, revenues from the sale of news-

papers to its vendors, and the vendors’ sale of the newspaper to the public, are vital to The Con-

tributor’s economic sustainability, and to its ability to fulfill its mission. Barriers, including SNAP


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application and appeals delays, affecting the vendors’ ability to sell The Contributor’s newspapers,

therefore adversely affects The Contributor, both in terms of its economic sustainability and the

fulfillment of its missions.

       62.     Stable housing and stable access to food are closely linked. Without stable access

to SNAP or other nutrition benefits, limited funds that would be spent securing housing or other

basic necessities must go to pay for food. Disruption of vendor’s means of obtaining adequate

nutrition, including SNAP, is destabilizing and reduces the likelihood of remaining housed. As

one of the ways its vendors obtain and maintain stable housing, The Contributor helps ensure that

its vendors have stable access to SNAP and other nutrition assistance.

       63.     Due to Defendant’s violations of law complained of herein, the SNAP eligibility

and appeals process as it is administered by DHS is almost impossible for most of The Contribu-

tor’s vendors to successfully navigate without help. The Contributor therefore finds it necessary

to devote significant resources to helping vendors overcome DHS barriers to SNAP participation

and full access, in order to prevent the improper denial or loss of SNAP benefits from interfering

with the vendors’ ability to sell newspapers and achieve and maintain stable housing.

       64.     Specifically, the violations complained of herein have required The Contributor

since February 2022 to fund half of one full-time paid staff position, with the title of SNAP Coor-

dinator, as well as that person’s related phone, computer, occupancy and other overhead expenses.

The Contributor has found it necessary to maintain that position in order to mitigate the harm to

its vendors and its own business revenues that results from Defendant’s unlawful administration

of Tennessee’s SNAP program.

       65.     The Contributor’s SNAP Coordinator has around 80 active SNAP cases involving

the Organization’s vendors at any one time. These cases require significant coordination and



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organization. The SNAP Coordinator acts as the vendors’ surrogate at every step of the SNAP

eligibility and appeals process, affording the SNAP Coordinator an intimate, firsthand knowledge

of DHS’s handling of hundreds of vendors’ SNAP cases.

       66.     Among other things, the Contributor’s SNAP Coordinator personally submits ven-

dor applications to DHS, shepherds documents to DHS verifying eligibility, serves as authorized

representative to conduct SNAP eligibility interviews on vendors’ behalf, receives all mail and e-

mail correspondence from DHS regarding vendor SNAP cases, and, where necessary to contest a

wrongful denial or termination, files and pursues appeals, representing vendors at fair hearings.

       67.     Were it not for the barriers to SNAP participation resulting from DHS’s administra-

tion of the SNAP program, complained of herein, The Contributor would be able to commit more

resources to enabling more unhoused Nashvillians to obtain and maintain stable housing. By re-

quiring the diversion of The Contributor’s resources to mitigate the harm to its vendors caused by

his unlawful administration of the SNAP program, Defendant has harmed, and continues to harm,

The Contributor by diminishing its ability to fulfill its missions.

       68.     In spite of its diversion of organization resources to help vendors overcome DHS’s

unlawful barriers to SNAP participation, The Contributor cannot completely protect its vendors

from the adverse effects of Defendant’s unlawful administration of the SNAP program. DHS’s

delays in affording them an opportunity to participate, its improper denials as a result of the failure

to conduct timely interviews or reliably process eligibility documents, the agency’s use of vague

or misleading notices that engender confusion and anxiety, and the lengthy delays in obtaining

redress through the appeal process all have the effect of taking vendors’ time and efforts away

from selling The Contributor’s newspapers and increasing the amount of time, money, and re-

sources necessary for The Contributor to try to address those problems on behalf of vendors. That



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results in vendors purchasing fewer newspapers from The Contributor for resale, thereby reducing

the organization’s revenues, and preventing The Contributor from being able to commit more of

its limited internal resources to other measures to combat homelessness. By thus causing a reduc-

tion in The Contributor’s revenues and diversion of resources, Defendant has caused and continues

to cause financial harm to The Contributor, ultimately undermining its ability to fulfill its missions.

                   INDIVIDUAL PLAINTIFFS’ FACTUAL ALLEGATIONS

                                      Erin Bull and Household

       69.     Erin Bull is a 45-year-old resident of Bradley County, Tennessee. She lives in

Cleveland with her husband and four minor children. For SNAP purposes, Ms. Bull is a household

of six. Ms. Bull and her family have had SNAP benefits off and on for a few years.

       70.     On August 28, 2024, Ms. Bull submitted a SNAP application online on behalf of

her six-person household. As part of her August 28, 2024 application, Ms. Bull submitted a bank

statement from the joint checking account she shares with her husband at Old National Bank.

       71.     After September 5, Ms. Bull received a letter asking for proof of liquid resources.

Ms. Bull was not sure what “liquid resources” meant as that was different wording than she had

heard in previous years and was not one of the forms of proof needed that was listed. The letter

stated that she had until September 16, 2024 to provide the requested information.

       72.     Ms. Bull went to the Bradley County DHS Office before September 16, 2024 to

ask. She spoke to a DHS worker who indicated that it meant bank statement. Ms. Bull told the

DHS worker that she had already submitted the bank statement information with her original ap-

plication on August 28, 2024. Ms. Bull accessed her OneDHS portal through her phone and

showed the DHS worker. The DHS worker found the submission in her system and told Ms. Bull

that there were several documents that had been submitted that the DHS worker had not even



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opened yet. The DHS worker stated that she was sending a note for the other DHS worker to re-

look at Ms. Bull’s application and to continue processing it.

       73.     When Ms. Bull heard nothing, she went back to the Bradley County DHS Office

and asked about the status of her application. The DHS worker that visit told Ms. Bull that she saw

all of the verifications in her portal and that there was nothing else she needed to do but sit and

wait as they had up to 30 days to process the application.

       74.     Ms. Bull continued to wait and did not see any notices on the website or receive

anything in the mail.

       75.     Hearing nothing, Ms. Bull stopped in again at the Bradley County DHS office on

October 4, 2024. The DHS worker behind the glass was confused and had to ask someone else to

help her locate notes on Ms. Bull’s SNAP case. The DHS worker eventually came back and told

Ms. Bull that she had been denied on September 18, 2024.

       76.     DHS claimed to have sent a Notice of Decision to Ms. Bull on September 18,

2024 indicating that her August 28, 2024 SNAP application had been denied on the basis that “A

mandatory member refused or failed to verify required information for Liquid Resources.”

       77.     But Ms. Bull had submitted the proof of liquid resources with her original appli-

cation. At no point before September 18, 2024, did a DHS worker contact her to alert her that ac-

cording to DHS she still needed to provide her bank statement or offer to help her obtain a bank

statement.

       78.     On November 7, 2024, Ms. Bull submitted an appeal for her denied application.

As part of her appeal, she requested continuation of benefits.

       79.     Ms. Bull did not receive a written decision on her appeal within 60 days.

       80.     As of the filing of this lawsuit, no hearing has been set on her appeal.



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          81.   By December 7, 2024, DHS sent Ms. Bull a Notice indicating that she and her

household had been approved for SNAP for $394 per month in benefits. Ms. Bull later contacted

DHS and spoke to a worker who indicated that she had been approved for October, November,

and December SNAP benefits for $394 per month. The worker indicated that no benefits were

provided for August and September 2024 because Ms. Bull’s household was purportedly over-

income during this period. The DHS worker indicated that Ms. Bull’s household income was

$4,511 for September, but Ms. Bull disputed this amount and does not know how DHS calculated

it.

          82.   As of the filing of this lawsuit, Ms. Bull has not received back benefits for August

or September.

          83.   As a household of six, Ms. Bull and her household must make every dollar with

SNAP count to provide food for her family. Missing almost $400 in benefits resulted in the Bulls

having to forgo meals, buy less food, and forgo payments on other bills.

          84.   DHS will request verifications from Ms. Bull in the future. Given the repeated is-

sues that DHS has in being unable to locate a verification that have been provided, Ms. Bull is

likely to have to submit SNAP appeals in the future on this or another basis.

          85.   Ms. Bull and her household will have to go through DHS’s SNAP application pro-

cess again in the future.

                                 Kathryn Colbert and Household

          86.   Ms. Kathryn Colbert, age 40, lives in Knoxville, Tennessee with her three sons. Ms.

Colbert is head of her household.




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       87.    On May 22, 2024, Ms. Colbert and her children applied for SNAP benefits and

another public benefits program known as Families First, Tennessee’s Temporary Assistance for

Needy Families program, which is also administered by DHS.

       88.    Ms. Colbert’s household was denied for SNAP on June 10, 2024 on the purported

basis that “Your income exceeds the income limit for SNAP.”

       89.    Ms. Colbert appealed the denial of her SNAP benefits on June 12, 2024.

       90.    DHS erroneously denied Ms. Colbert’s household SNAP benefits from June 1,

2024 to October 14, 2024.

       91.    As grounds for her June 12, 2024 appeal, Ms. Colbert asserted that she was “denied

due to income in which I have not been employed since April. Other reason [sic] was to provide

my lease with my son on in which that was denied November of last year. My lease and all other

pertinent documentation has been uploaded prior to the decision for denial.”

       92.    After she filed her SNAP appeal, Ms. Colbert called to check on its status. DHS

Administrative Appeals Clerk responded to her inquiry by stating, “The average time from appeal

filed date to Order date is 60-90 days. Due to the high volume of appeals, processing time frames

can take longer than 60-90 days.”

       93.    As a result of the long delays in her appeal, Ms. Colbert had to reapply on October

7, 2024.

       94.    On October 15, 2024, Ms. Colbert was approved for SNAP benefits 146 days after

her May 22, 2024 application. The underlying facts and her household’s SNAP eligibility, includ-

ing her household’s income, had not changed between May 2024 and October 2024.

       95.    The hearing on Ms. Colbert’s appeal was first set in person at the Knox County

DHS office for November 5, 2024—146 days after her appeal was filed.



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           96.    Because the hearing was set to be in person in Knoxville and her counsel was lo-

cated in Nashville, Ms. Colbert through counsel moved for the hearing to take place telephonically

on November 5, 2024. DHS treated this motion as a request for a continuance and eventually held

the hearing on November 19, 2024.

           97.    On December 11, 2024, a DHS Administrative Judge issued an order and ruled in

favor of Ms. Colbert on her June 12, 2024 appeal. The DHS Administrative Judge found that DHS

had erred and had improperly denied the Appellant’s application for SNAP benefits in the case.

The order directed DHS to reprocess Ms. Colbert’s application.

           98.    In a letter issued by the Commissioner’s Designee for DHS on January 7, 2025,

DHS stated among other things that the “[D]epartment improperly denied your application for

SNAP benefits in this case” and awarded her $4,281 in improperly withheld SNAP benefits be-

tween May and September 2024.

           99.    Since May when she first applied for benefits, Ms. Colbert and her family have had

to spend TANF funds on food that could have gone to pay for other expenses, to go to a food bank

to get food, and have had to skip meals. These issues with obtaining food were compounded when

the family became homeless on August 18, 2024 as a result of a lease expiring and financial diffi-

culties.

                                            Tamika Davis

           100.   Tamika Davis is a 51-year-old resident of Davidson County who is currently un-

housed. For purposes of SNAP, Ms. Davis is a household of 1.

           101.   Ms. Davis applied for SNAP on September 23, 2024 via fax and obtained a confir-

mation receipt.




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       102.      At the time of her application and to present, Ms. Davis made less than $150 per

month in income and had less than $100 in the bank. Ms. Davis, who also indicated she was home-

less on her application, was therefore eligible to receive SNAP through an expedited application

within 7 days.

       103.      After she had not heard back about her application, Ms. Davis contacted the Ten-

nessee Justice Center for help. On October 28, 2024, TJC’s Ashley Dorway contacted DHS and

asked when DHS could provide a timeline for receiving her benefits.

       104.      DHS indicated that they had an interview appointment scheduled for her on No-

vember 4, 2024 at 9:00 a.m. and that the team had been unable to contact Ms. Davis previously on

September 30, 2024.

       105.      Ms. Davis was present for the SNAP interview on November 4, 2024. At the inter-

view, DHS requested a copy of identification and told her to bring it in or fax it to DHS. This was

the only verification that DHS requested.

       106.      Ms. Davis did submit her identification to DHS. She took her identification to the

Davidson County DHS office in Metro Center. DHS did not provide her with a receipt of the

submission.

       107.      As of January 2, 2025, Ms. Davis has not received her EBT card and has not re-

ceived a Notice of Decision on her application.

       108.      If she is not approved, Ms. Davis will have to submit another application and will

have to go through DHS’s application process again.

       109.      If she is approved, Ms. Davis is subject to and will have to go through the recerti-

fication process every six months to continue to participate in the SNAP program.

                                 Missaes Desjardins and Household



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       110.    Ms. Missaes Desjardins is 35 years old and has two children under 18. Ms.

Desjardins and her two children live in Nashville, Tennessee in Davidson County. Ms. Desjardins

is in a household of three for purposes of SNAP.

       111.    Ms. Desjardins has received SNAP benefits since around 2023, but has been on and

off the program. Ms. Desjardins is a former benefits specialist.

       112.    In a Notice of Decision dated September 3, 2024, DHS indicated that Ms.

Desjardins and her household were still eligible for SNAP benefits and that she would receive

$768 in benefits as of October 1, 2024.

       113.    The Notice DHS sent to Ms. Desjardins stated the following, in relevant part:

        If you are a Simplified Reporting household, you must report the following
        changes:

        If the amount of money that comes into your household goes above the gross in-
        come limit of $1,580.00 for your household size in a month, you must contact us
        within the first ten (10) days of the month following the month the change oc-
        curred.

        If someone in your household is an ABAWD (Able bodied Without Dependents)
        whose hours go below an average of 20 hours per week, you must contact us within
        the first ten (10) days of the month following the month the change occurred.

        If someone in your household wins $4,250.00 or more from the lottery or gam-
        bling, report this information 10 calendar days of the receipt of the winnings.

        Non-simplified reporting households are required to report changes within ten (10)
        days of the date the change becomes known to the household.
        Households approved for SNAP will continue to receive them unless there is a
        change in their situation.

       114.    Ms. Desjardins was not told by DHS whether she was subject to simplified report-

ing or not.

       115.    In a Notice of Decision dated September 13, 2024, DHS indicated that Ms.

Desjardins and her household would be terminated from SNAP as of September 30, 2024. The



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only reason listed on the Notice of Decision was “Your income exceeds the income limit for

SNAP.”

       116.    Ms. Desjardins did not receive the Notice of Decision dated September 13, 2024

until September 28, 2024. She does not know and has not been provided with the basis or source

for DHS’s assertion that her income exceeded the income limit for SNAP.

       117.    Because she did not receive the Notice of Decision until September 28, 2024, Ms.

Desjardins was unable to ask for Continuation of Benefits.

       118.    During the periods in which she had disruptions to her SNAP benefits, Ms.

Desjardins made several trips to the Davidson County DHS office in Metro Center. One week, she

had to go to DHS on three separate occasions. On one of these occasions, she had to wait 4.5 hours

to see a DHS worker. On another, she had to wait 1.5 hours.

       119.    On October 1, 2024, Ms. Desjardins submitted a SNAP appeal to DHS. The appeal

sought to address, among other things, her termination from the program referenced in the Notice

of Decision dated September 13, 2024.

       120.    DHS did not issue a written decision on Ms. Desjardins’ October 1, 2024 appeal

within 60 days. The appeal remains pending.

       121.    On October 31, 2024, Ms. Desjardins submitted a new application for SNAP.

       122.    On November 19, 2024, DHS approved Ms. Desjardins’ SNAP application filed on

October 31st. This Notice of Decision for her SNAP approval stated that she would receive $696

for her household from October to December 2024.

       123.    Ms. Desjardins’ income and her qualifications for SNAP did not change between

September 13 and October 31, 2024 and she remained eligible for SNAP during this period. DHS

calculated her income incorrectly during this period.



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        124.   Ms. Desjardins was without SNAP between September 30 and November 19, 2024.

        125.   During the period she was without SNAP benefits, Ms. Desjardins had to forgo

eating food, obtain food from friends, food banks, and neighbors, and forgo payment on other bills.

        126.   Ms. Desjardins will go through the DHS SNAP application process again. Her ap-

peal remains pending.

                                Emily Gugliemelli and Household

        127.   Ms. Gugliemelli, age 32, her fiancé, Nathaniel Arsenault, age 32, and her two chil-

dren (5) years old and 5 months old reside in Cleveland, Tennessee in Bradley County.

        128.   Ms. Gugliemelli and her family have had SNAP benefits off and on since summer

2023.

        129.   On May 1, 2024, DHS sent Ms. Gugliemelli and her household a notice in the mail

that her SNAP benefits were being terminated because she did not cooperate with the renewal

process. The Notice stated, “You did not cooperate with us on the review/recertification of your

eligibility.” But Ms. Gugliemelli and her household had not refused to cooperate with DHS about

SNAP recertification.




        130.   On May 2, 2024, Ms. Gugliemelli and her household reapplied for benefits and

were approved on May 8, 2024.




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       131.   On June 5, 2024, DHS once again terminated Ms. Gugliemelli and her household

from SNAP because they allegedly failed to provide income verifications from Nathaniel. But this

was not true, income verifications for Nathaniel’s job had been submitted on May 14, 2024, as

shown by the screen shots below from DHS’ OneDHS portal, which date stamped the submission:




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       132.    On June 24, 2024, Ms. Gugliemelli appealed this termination on the basis that DHS

had simply ignored the proof of income in the verifications that she had already submitted on May

2, 2024.

       133.    Ms. Gugliemelli once again applied on June 27, 2024. DHS approved Ms. Gug-

liemelli and her household for benefits on July 17, 2024.

       134.    Ms. Gugliemelli and her household were without SNAP benefits from June 5, 2024

to July 17, 2024.


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          135.   For the month and a half that elapsed while awaiting approval on her new applica-

tion, Ms. Gugliemelli and her family were forced to divert the limited amount of money in their

savings funds to buy food as well as visiting local food banks in Cleveland. Further, Ms. Gug-

liemelli’s health suffered. During this gap in benefits, Ms. Gugliemelli was eight months pregnant

and needed nutrition to support herself and her (as yet) unborn child.

          136.   After waiting for a fair hearing to be scheduled, Ms. Gugliemelli finally received a

hearing packet in the mail on September 9, 2024 with a hearing date of September 19, 2024. The

scheduled hearing date was 87 days after her filed appeal.

          137.   Ms. Gugliemelli contacted the Tennessee Justice Center on September 16, 2024.

To allow enough time for her attorneys to prepare for an administrative hearing, Ms. Gugliemelli’s

attorneys at TJC asked to continue the hearing. The hearing was continued to November 4, 2024.

          138.   On September 27, 2024, DHS issued a “Manual Issuance” notice notifying Ms.

Gugliemelli and her family of an extra one-time amount of $446 added to their EBT card.

          139.   Based on the Manual Issuance, the parties entered into an Agreed Order of With-

drawal of the June 24, 2024 appeal, which was entered on October 11, 2024. This ended the earlier

appeal.

          140.   However, on November 21, 2024 during the household’s renewal, Ms. Gug-

liemelli’s household’s benefits were reduced by about $60 despite a new family member being

added to the household.

          141.   The next day, on November 22, 2024, Ms. Gugliemelli and her household filed an

appeal. The appeal asserts that DHS incorrectly calculated Nathaniel Arsenault’s income based on

an atypical payment schedule. The appeal is still pending as of the filing of this Complaint. No

hearing has been set on the appeal and no written decision has been issued.



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                                 Trista Hubbard and Household

       142.    Trista Hubbard, her spouse, and five children live in Knoxville. Before November

2023, the family received SNAP benefits.

       143.    On November 13, 2023, Trista Hubbard submitted a SNAP application on behalf

of her seven person household after losing benefits.

       144.    In November 2024, Ms. Hubbard’s oldest daughter moved back in with the family.

       145.    On January 8, 2024, DHS issued a verification request to Ms. Hubbard that gave a

deadline of January 16, 2024—less than 10 days, as shown by the screenshot below.




       146.    On January 26, 2024, Ms. Hubbard’s November 13, 2023 application was denied

on the purported basis that a mandatory member refused or failed to verify required information

for Liquid Resources, which Ms. Hubbard disputed.

       147.    On March 7, 2024, Ms. Hubbard filed a SNAP appeal (No. 2403364914).

       148.    On July 31, 2024, DHS sent a Notice of Hearing to Ms. Hubbard setting a hearing

date of August 12, 2024 for the March 7, 2024 appeal (2403364914).




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       149.    On August 20, 2024, 166 days after Ms. Hubbard filed her appeal, a DHS Admin-

istrative Judge issued an initial order remanding the case to the agency after the Department ad-

mitted that there were errors in the original processing of the application.

       150.    On September 6, 2024, nearly ten months after her initial application, DHS issued

back SNAP benefits to Ms. Hubbard totaling $3,380. Following the hearing, DHS issued benefits

in the amount of $711.00 for November 13, 2023 through November 30, 2023, $411 for December

2023, $870 for January 2024, $812 for February 2024, and $576 for April 2024.

       151.    The $3,380 in back benefits did not come soon enough. As a result of the SNAP

denial and DHS’s errors, Ms. Hubbard fell behind on her mortgage, spending money that would

otherwise go to her mortgage payment on food that would otherwise be covered by SNAP. When

she fell behind, the bank initiated foreclosure proceedings, which, in turn, required Ms. Hubbard

to file for bankruptcy to preserve her home, resulting in damage to her credit.

       152.    Because Ms. Hubbard had to devote limited funds to pay for food items that other-

wise would have been covered by her SNAP benefits, she has been late in paying expenses, which

caused her car to be repossessed and her utilities to be briefly shut off, and needed to use credit

cards to pay off bills and other expenses—maxing out her three credit cards in the process.

       153.    Ms. Hubbard has also cut back on meals for herself and stopped eating dinner in

order to make sure there was enough food for her children. She asked family and friends for help

feeding her household and relied on area food banks.

       154.    Further, Ms. Hubbard’s health suffered during the period without SNAP benefits.

She experienced depression and anxiety due to the stress of having the SNAP denial and DHS

errors. Furthermore, Ms. Hubbard is pre-diabetic. She experienced negative health issues because

she was only able to afford cheap, often unhealthy food during this period, exacerbating her



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ongoing blood sugar issues. Other members of Ms. Hubbard’s household are pre-diabetic, so the

family’s reliance on cheap, often unhealthy food during this period negatively impacted them as

well. In addition, Ms. Hubbard was unable to afford gluten-free food products for her son who

requires gluten-free food for his dietary needs—resulting in her son experiencing frequent stomach

aches.

         155.   After being briefly approved for SNAP from May 16, 2024 to May 31, 2024, Ms.

Hubbard and her family were terminated from the program.

         156.   Ms. Hubbard and her household’s income remains very close to the eligibility limit

for SNAP currently. Given this, the inconsistency income calculation and documentation request,

and the issues that she and her family have faced with the November 13, 2023 application, it is

likely that Ms. Hubbard will have to file a SNAP appeal again.

                                 Candice Jacques and Household

         157.   Candice Jacques, age 37, and her daughter, age 2, reside in Nashville, Tennessee in

Davidson County. As a household of two, they have received SNAP benefits off and on since

approximately August 2022.

         158.   Ms. Jacques and her daughter were terminated from SNAP without notice on De-

cember 31, 2023. On January 2, 2024, DHS purportedly sent Ms. Jacques a Notice of Decision

stating that her SNAP case was being terminated because “You did not cooperate with us on the

review/recertification of your eligibility.” But Ms. Jacques never received a renewal notice, notice

of appointment, or a Notice of Decision.

         159.   After she did not receive her benefits, Ms. Jacques contacted DHS in February. She

was told by DHS that her case “timed out” due to not renewing. On the call, a DHS representative




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admitted that the agency failed to mail her a recertification notice and application to fill out and

stated that it would not be hard to get benefits back since it was DHS’s fault.

       160.     Ms. Jacques reapplied for SNAP on February 20, 2024 and had an appointment

interview scheduled on March 5, 2024, but DHS never called for the interview. In response, DHS

sent a “Notice of Missed Interview” to Ms. Jacques on March 6, 2024. DHS subsequently denied

her application on March 21, 2024.

       161.     After DHS failed to call, Ms. Jacques tried to reschedule, but Ms. Jacques was told

that DHS was delayed in making calls. DHS placed Ms. Jacques on a wait list.

       162.     DHS again sent a Notice of Appointment to Ms. Jacques for April 26, 2024 and

again failed to call her yet again at the scheduled time. After she called back, Ms. Jacques was told

to reapply again.

       163.     Ms. Jacques again submitted an application on April 29, 2024 and May 9, 2024.

       164.     Ms. Jacques was finally approved for SNAP on May 10, 2024 for the months of

April 2024 through September 2024.

       165.     During times when she was trying to check on the reason for the delay, Ms. Jacques

was on hold for long periods of time with DHS, sometimes between two and five hours. On mul-

tiple occasions, Ms. Jacques will call and get hung up on without a call back. On one occasion,

Ms. Jacques waited on hold for 2.5 hours and got hung up on. She called back and was placed on

hold for another 1.5 to 2 hours. When someone at DHS answered, Ms. Jacques asked if she could

please take down her phone number so the worker could call her back if they got disconnected, the

worker indicated that DHS does not do that. One person who answered indicated that he does not

normally work in the SNAP department and was just volunteering that day since the call times

were so long.



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       166.   Ms. Jacques appealed on June 3, 2024 through appeal 2406402533.

       167.   On July 23, 2024, DHS’s Leann Thorton sent an e-mail stating that Ms. Jacques

benefits were restored to February 20, 2024 through August 2024 and indicated that Ms. Jacques’s

appeal had been completely resolved.

       168.   After multiple inquiries from Ms. Jacques about why the December 2023, January

2024, and February 2024 benefits were not provided, Ms. Jacques submitted an appeal on August

28, 2024, which stated:




       169.   On July 18, 2024, DHS sent Ms. Jacques several Manual Issuance notices notifying

her that she would be receiving some back benefits based on her appeal.

       170.   On July 23, 2024, Ms. Jacques received a message from DHS that her SNAP appeal

had been reviewed and that she was being issued benefits for February 20 to 29, 2024, and March

through August 2024.

       171.   On August 28, 2024, Ms. Jacques filed an appeal seeking a hearing and restoration

of benefits for December 2023 through February 19, 2024. The appeal stated the following:




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       172.    On September 20, 2024, DHS denied Ms. Jacques’ request for a fair hearing and

closed her appeal. The agency stated that DHS took action on January 2, 2024 and the appeal was

untimely because it was filed on August 28, 2024—more than 90 days after the action.

       173.    DHS denied Ms. Jacques’s request for restoration of benefits lost more than 90 days

but less than a year prior to the request.

       174.    Ms. Jacques and her daughter were not receiving SNAP benefits between January

and May 2024 and August to October 2024. The period of time without SNAP benefits was in-

credibly stressful for Ms. Jacques. Ms. Jacques is a single-mom with a small child with no regular

income.

       175.    During the time without benefits, Ms. Jacques had to obtain food from the Bellevue

food pantry and rely on help from friends from church.

       176.    Without SNAP benefits, Ms. Jacques was forced to forgo payment on other bills to

pay for food that would have otherwise been paid for with SNAP benefits. Because of the lack of

SNAP benefits, Ms. Jacques could not pay her cell phone bill and lost coverage for several days,

had to stop paying electric bills, and eventually had to move into low-income housing because of

the instability and not knowing when they were going to receive SNAP benefits.

                                 Rez’hana Maddox and Household

       177.    Rez’hana Maddox is a 23-year-old resident of Davidson County, Tennessee. She is

a single mother of one and is currently pregnant with her second child who is due in March. For

SNAP purposes, Ms. Maddox is currently considered a household of two.

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       178.    Ms. Maddox began receiving SNAP in July of 2023. She was terminated from the

program in December of 2023. Following the news of her second pregnancy, Ms. Maddox again

applied for SNAP on May 2, 2024.

       179.    After several failed application attempts and appeals, Ms. Maddox submitted an-

other application for SNAP on August 5, 2024. This application was denied on August 26, 2024

for an alleged failure to verify required information for her liquid resources. But this was not ac-

curate. Ms. Maddox had submitted everything DHS requested.

       180.    When her August 5th application was denied on August 26th, Ms. Maddox appealed

on September 20, 2024. Because the DHS Notice of Decision was a denial of an application and

not a termination, Ms. Maddox did not have continuation of benefits and did not have SNAP.

       181.    The hearing date for Ms. Maddox’s September 20, 2024 appeal was first set for

hearing on January 9, 2025 through a Notice of Hearing dated December 30, 2024. Ms. Maddox

did not receive a written decision on her appeal within 60 days of submission.

       182.    Ms. Maddox contacted DHS to ask how she could obtain SNAP benefits during the

appeal and was told by DHS to submit another application. Ms. Maddox did submit another SNAP

application on November 15, 2024.

       183.    Ms. Maddox and her household were approved for SNAP by DHS through a NOD

dated November 22, 2024.

       184.    After reaching out for help from the Tennessee Justice Center (TJC), a TJC case-

worker was able to inquire on the status of Ms. Maddox’s case with DHS in early December. DHS

informed the caseworker that Ms. Maddox had provided all required information during her Au-

gust application, and that she had been wrongfully terminated. On December 13th, DHS manually

issued Ms. Maddox supplements totaling $720—84 days after her September 20, 2024 appeal.



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        185.   Between the period where Ms. Maddox’s August application had been wrongfully

denied and when she received a manual issuance supplement on December 13, 2024, Ms. Maddox

was forced to rely on help from family and friends in order to meet her nutrition needs. She also

had to forgo payment on other bills in order to pay for food that would have been covered by

SNAP.

        186.   Additionally, Ms. Maddox was five months pregnant at the time of her September

2024 appeal. DHS’s wrongful denial of SNAP benefits placed additional pressure and stress on

Ms. Maddox as to whether she would be able to afford groceries for herself and her unborn baby

and pay other bills.

        187.   After Ms. Maddox submitted a change report listing her new employer and hourly

wage on December 9, 2024, DHS requested verifications for this income. Ms. Maddox submitted

two pay stubs showing her new income.

        188.   Yet, on December 27, 2024, DHS submitted a notice informing Ms. Maddox that

her case was being terminated for being over-income despite DHS separately indicating that her

case was terminated on the purported basis that two pay subs were not sufficient verification for

income.

        189.   Ms. Maddox submitted as much information as she had available and DHS had

enough information to determine her wage. Despite this, DHS terminated her case without ex-

hausting its verification methods. DHS is able to use the Work Number to verify her employer

and wage and they did not appear to do so. Further, DHS never requested that Ms. Maddox submit

a sworn statement attesting to her income, which is permitted under DHS policy.

        190.   Ms. Maddox filed an appeal contesting her termination on January 6, 2025. Be-

cause of the risk that DHS might try to collect any overissuance, Ms. Maddox did not seek



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continuation of benefits during the appeal. Ms. Maddox’s current appeal is subject to DHS’s cur-

rent appeal processing delays.

                                 Sheray Ominyi and Household

        191.    Sheray Ominyi is a 45-year-old resident of Nashville in Davidson County, Tennes-

see. For SNAP purposes, Ms. Ominyi is a household of one.

        192.    Ms. Ominyi has been on and off SNAP for a number of years and has been through

the DHS’s SNAP appeals and application processes multiple times.

        193.    In May 2024, the amount that Ms. Ominyi received in SNAP benefits was lower

than expected. In late May, she called DHS to understand why her monthly SNAP allotment was

lowered. DHS stated that she had $1,500 from earned income and $800 from unearned income.

Ms. Ominyi told DHS that those amounts were incorrect.

        194.    During her multiple attempts to get an answer about the income amounts, Ms.

Ominyi tried calling the DHS assistance line and was told to go to the local DHS office in Davidson

County instead. When she went to the Davidson County office, workers there directed her back to

the assistance line.

        195.    When Ms. Ominyi did not receive her July benefits, she contacted DHS. On July 2,

2024, Ms. Ominyi personally dropped off her SNAP appeal concerning DHS’s Application Pro-

cessing at the Davidson County DHS office.

        196.    In an NOD dated August 9, 2024, DHS told Ms. Ominyi “You SNAP case will be

terminated on June 30, 2024 for the following reason(s): You missed your renewal interview ap-

pointment.” (emphasis added). Ms. Ominyi did not receive a written Notice of Decision in advance

of her SNAP benefits being terminated.




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       197.    Ms. Ominyi reapplied for SNAP on August 27, 2024.

       198.    Ms. Ominyi was originally denied for SNAP on September 19, 2024 on the pur-

ported basis that she had not submitted a separation letter for earned income or loss of employment.

But Ms. Ominyi had submitted those documents on September 3, 2024 and September 16, 2024.

       199.    In an NOD dated September 27, 2024, DHS denied Ms. Ominyi’s August 27, 2024

application on the basis that “There are no eligible members in your household.”

       200.    In a letter dated October 29, 2024, DHS first set a hearing on her July 2, 2024 appeal

for hearing on November 8, 2024. Unlike most appeals, which occur telephonically, DHS set the

hearing on Ms. Ominyi’s appeal in person at DHS’s offices near the Tennessee Performing Arts

Center in downtown Nashville.

       201.    On November 12, 2024, a DHS Administrative Judge issued an Initial Order of

Default against Ms. Ominyi.




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          202.   On November 26, 2024, Ms. Ominyi filed a Petition for Reconsideration, which

asserted that Ms. Ominyi made a mistake concerning the date of her appeal hearing and that the

Notice of Hearing had been returned to DHS as undeliverable.

          203.   Ms. Ominyi’s Petition was subsequently granted in an Order entered on December

10, 2024. The December 10, 2024 Order stated that the matter would be rescheduled for a new

hearing date. As of the date of the filing of this lawsuit, a new hearing date has not been scheduled.

          204.   On December 5, 2024, Ms. Ominyi filed a new SNAP application and completed

her interview on December 11, 2024.

          205.   In a letter dated December 12, 2024, DHS requested verifications of Ms. Ominyi’s

earned income from Industrial Staffing and gave her until December 23, 2024 to submit them.

          206.   Before the December 23, 2024 deadline, Ms. Ominyi provided a letter to DHS ex-

plaining that she longer worked at Industrial Staff, had provided all of the paystubs that she had,

and gave the contact information for Industrial Staffing for DHS to assist in obtaining the verifi-

cations.

          207.   On December 26, 2024, Ms. Ominyi submitted an appeal for her application denial

on September 27, 2024. As of the filing of this lawsuit, the appeal is pending and Ms. Ominyi is

subject to DHS’ current appeals processing timeline.

          208.   In an NOD dated December 27, 2024, DHS denied Ms. Ominyi’s December 5,

2024 application. The only stated reason for the denial was, “A mandatory member refused or

failed to verify required information for Earned Income.”

          209.   At no point did Ms. Ominyi refuse to verify required information that DHS asked

of her.




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       210.    DHS did not contact Ms. Ominyi to determine whether she was refusing to provide

required information.

       211.    At no point did DHS offer to assist Ms. Ominyi in obtaining verifications from

Industrial Staffing or otherwise offer to help her obtain verifications.

       212.    On January 6, 2025, the dashboard on Ms. Ominyi’s OneDHS portal account indi-

cated that she had been approved for SNAP in the amount of $63.

       213.    Ms. Ominyi is on a fixed income and is currently unemployed. She relies on SNAP

benefits to feed herself. During the periods in which she was without SNAP, she had to forgo

payment on other bills to pay for food, forgo eating, or rely on friends in order get food.

       214.    Ms. Ominyi is currently in the SNAP administrative appeals process. Her July 2,

2024 appeal, was first set for hearing on November 8, 2024. After being reinstated, it has not been

rescheduled. Further, Ms. Ominyi currently has another active appeal that was timely filed on

December 26, 2024.

       215.    Because she qualifies, has a limited income, and needs SNAP to provide nutrition

assistance, Ms. Ominyi will either go through the SNAP application again or, if her eligibility is

reinstated, go through DHS’s renewal process again.

                                 Candace Pegues and Household

       216.    Ms. Candace D. Pegues is an adult resident of Memphis, Tennessee in Shelby

County, who lives with three of her own children and three of her sister’s children, who are cur-

rently in her custody. Ms. Pegues’s SNAP benefits, which she had received in August and Sep-

tember 2023, stopped unexpectedly in October, November, and December 2023.




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       217.    On December 19, 2023, Ms. Pegues went to the DHS office in Shelby County to

find out why her benefits had stopped. After speaking with an employee who directed her to sit

down, Ms. Pegues waited for two to three hours.

       218.    When Ms. Pegues was finally able to speak with an agent, she was told that one

child’s Social Security Number was missing and that according to DHS she had failed to respond

to letters requesting it. Ms. Pegues told the agent that she had never received any letters, but the

agent told her that DHS had closed her case.

       219.    Ms. Pegues never received an explanation for why she received benefits in August

and September if there was a problem with her documentation. The agent told Ms. Pegues she

would have to submit a new application, which she did in person at the Shelby County DHS office

that day on December 19, 2023.

       220.    As of January 4, 2024, Ms. Pegues had not received any response from DHS about

her December 19, 2023 application. She contacted Tennessee Justice Center for help.

       221.    On or around January 22, 2024, Ms. Pegues received an interview call from DHS

with no prior notice. The agent told her they would try to complete her application by the following

day and that benefits would be deposited on that day.

       222.    The following day, on or around January 23, 2024, Ms. Pegues checked her EBT

card and saw no deposits. The caseworker called back and told Ms. Pegues that she was unable to

complete the case because there was an error with Social Security Numbers on the application.

After Ms. Pegues confirmed the SSN for a second time, the agent said that the SSN was correct in

the paperwork Ms. Pegues had submitted but incorrect in the system. According to the agent, she

could not change it in the system; instead, the system would have to “update itself.”




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       223.    On January 26, 2024, 38 days after Ms. Pegues had first applied, benefits in the

amount of $3,700 were deposited in Ms. Pegues’s account.

       224.    Ms. Pegues and her family are subject to DHS’s application process in the future.

       225.    During the period that Ms. Pegues went without SNAP benefits, she fell behind on

rent and electricity bills because she had to forgo payment on those bills to pay for food that would

otherwise be covered by SNAP benefits. Ms. Pegues and her family had to rely on various other

members of her family to make ends meet during this time. Occasionally, Ms. Pegues would miss

meals in order to ensure that her children had enough food.

       226.    During the period that Ms. Pegues went without SNAP benefits, she was forced to

buy cheaper, more processed food for herself and her children. Ms. Pegues has hyperthyroidism.

When she did not have SNAP benefits, her hyperthyroidism condition was aggravated, and her

bloodwork numbers were high because she was having to eat cheaper, more processed food that

was high in sodium.

                                   Brandi Tapia and Household

       227.    Ms. Tapia is a resident of Nashville, Tennessee in Davidson County. She applied

for SNAP on September 22, 2023 for herself and her son.

       228.    DHS sent Ms. Tapia a Notice of Appointment for an interview on October 27, 2023

and the interview was conducted as scheduled.

       229.    When Ms. Tapia did not hear anything following the interview, she called DHS on

November 3, 2023. DHS told her that there was no record of the October 27, 2023 interview so

she scheduled a second interview with DHS.

       230.    At the second interview, which occurred on November 20, 2023, DHS stated that

she needed to submit her last paystub by December 6, 2023. The DHS representative said that she



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could approve Ms. Tapia that day if she submitted it before the DHS representative left that day.

Ms. Tapia uploaded her paystub to the OneDHS portal on November 20, 2023.

       231.   Ms. Tapia again called DHS back on December 6, 2023 when she did not hear

anything from DHS. Ms. Tapia was told that DHS never received her paystub—even though Ms.

Tapia could see that it had been successfully uploaded on November 20, 2023 under the “My

Submissions” tab in her OneDHS portal. She told the DHS worker that her OneDHS portal page

showed that her paystub had been uploaded on November 20, 2023.

       232.   Nevertheless, Ms. Tapia re-uploaded her last paystub on December 6, 2023.

       233.   Hearing nothing, Ms. Tapia called DHS on December 18, 2023 and was again told

that DHS had not received the requested paystub, so Ms. Tapia uploaded her paystub a third time

to her OneDHS account that day. She called DHS again and a DHS representative confirmed that

they were able to view her income verification document. Hearing nothing, Ms. Tapia called DHS

on January 4, 2024 and was told her application was denied because her paystub had not been

uploaded and that she had to reapply for SNAP benefits, which she did.

       234.   Ms. Tapia appealed the denial of her September 2023 application on January 10,

2024 through appeal number 240136681.

       235.   Ms. Tapia was sent a Notice of Appointment for an interview in mid-February, but

did not receive a call from DHS.

       236.   Ms. Tapia called DHS again and waited on hold for three hours—only to get re-

scheduled.

       237.   Ms. Tapia finally had her interview with DHS on February 23, 2024 and was told

to upload her verifications, which she again did. Ms. Tapia’s eligibility information had not




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materially changed from her earlier application. DHS finally approved her February application

for benefits on February 29, 2024.

          238.   Ms. Tapia’s appeal was not set for hearing until May 24, 2024, which was 135 days

from the filing of her appeal on January 10, 2024.

          239.   The DHS Notice of Hearing packet, which included records from her case, stated

that the basis for DHS’s denial was that Ms. Tapia had failed to submit all requested verifications

by the required deadline for the purposes of SNAP eligibility. The DHS Notice of Hearing packet

itself showed copies of Ms. Tapia’s paystub, the screenshot of Ms. Tapia’s OneDHS portal page

showing that she had submitted the requested income verifications by each deadline, and an inter-

nal case note in December indicating that the worker could see the document in the OneDHS

portal.

          240.   After receiving the Notice of Hearing packet, Ms. Tapia called DHS to ask how to

submit a video to DHS of her accessing her OneDHS portal submissions page to show that she had

submitted the requested verifications. DHS told her that they could not accept video files as part

of the hearing, so she uploaded a screenshot of her OneDHS portal page that showed the income

verifications had been uploaded previously on November 20, 2023 and December 6, 2023 (shown

below in relevant part).




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         241.   At the hearing on May 24, 2024, Ms. Tapia requested a continuance so that she

could obtain legal counsel.

         242.   Following the hearing, a TJC attorney got in contact with a DHS attorney. The DHS

attorney informed TJC that DHS did already have the disputed submission in its possession.

         243.   Around July 5, 2024, Ms. Tapia was ultimately awarded $1,646 in back benefits

for this time period.

         244.   DHS’s wrongful denial of Ms. Tapia’s SNAP benefits caused her to be evicted.

Ms. Tapia was put in a situation where she had to spend money on food for her son or pay rent.

She chose to feed her son and was evicted for failure to make timely rent payments.

         245.   DHS will request verifications from Ms. Tapia in the future. Given the repeated

issues that DHS has in being unable to locate a verification that has been provided repeatedly over

several months, Ms. Tapia is likely to have to submit SNAP appeals in the future on this or another

basis.

                        APPLICATION DELAY CLASS ALLEGATIONS

                               Application Delay Class - Definition

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        246.   Plaintiffs seek certification of an “Application Delay Class,” consisting of:

        “all Tennessee residents who since December 10, 2023 have applied, are applying,
        or will apply for SNAP benefits through an initial or recertification application and
        who have not or will not receive an eligibility determination from DHS within the
        legally required timeframes. This definition specifically excludes those whose ap-
        plications are voluntarily withdrawn before the processing deadline.”

        247. Plaintiffs Davis and Pegues will represent the Application Delay Class.

                           Application Delay Class – General Class Allegations

        248. Thousands of Tennesseans apply for SNAP every month, and each month thousands

more must recertify their eligibility. At a January 24, 2024 legislative hearing, representatives from

DHS testified that the agency typically receives between 2,500 and 3,500 SNAP applications per

day, including normal, expedited, and recertification applications.

        249. Thousands of those applications are not processed by DHS within required

timeframes.

        250. From January 1 through March 31, 2024, DHS had 69,657 overdue initial normal

applications, 35,016 overdue initial expedited applications, and 10,872 overdue recertification ap-

plications.

        251. Between April 1 and June 30, 2024, DHS had 22,882 overdue initial normal appli-

cations, 20,124 overdue initial expedited applications, and 27,989 overdue recertification applica-

tions, that were eventually approved for SNAP benefits.

        252.    Between July 1 and September 30, 2024, DHS had 8,576 overdue initial normal

applications, 7,363 overdue initial expedited applications, and 4,351 overdue normal and expedited

recertifications.

        253.   SNAP application processing timeliness (APT) rates are reported quarterly by DHS

to USDA. Timeliness is calculated by dividing the number of cases timely processed by the number


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of cases subject to the timeliness measure, but these rates are not subject to audit by FNS and can

contain assumptions that make the state agency’s timeliness appear better than it actually is.

        254.   Subject to these important caveats as to their reliability, APT rates below 95% are

considered to be unacceptable by USDA.

        255.   Since 2011, DHS has self-reported annual APT rates varying between 70.48% and

90.53%, but never above 95%.

        256. In 2023, the most recent self-reported annual APT rate at the time of filing of the

Complaint, Tennessee’s annual APT rate was 70.48%—the lowest rate it has reported to USDA

between 2011 and 2023.

        257.   As of March 2024, DHS reported that its cumulative APT rate for fiscal year 2024

to that point (October 2023 through February 2024) was 41.48%.

        258. DHS’s self-reported rate has fluctuated between being near the worst performers

among states and territories in the United States to, at best, the top of the bottom half of states.

        259. Since 2011, Tennessee has had the following annual APT rates according to the

USDA:

                             Year             APT Rate               Rank among
                                                                53 Jurisdictions
                             2011               73.51%                  49 of 53

                             2012               78.81%                  45 of 53

                             2013               78.44%                  46 of 53

                             2014               84.59%                  39 of 53

                             2015               90.53%                  30 of 53

                             2016               87.14%                  43 of 53

                             2017               81.12%                  52 of 53


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                            2018                78.44%              50 of 53

                            2019                90.37%              32 of 53

                            2020            No data –               No data -

                                         COVID                   COVID

                            2021            No data –               No data -

                                         COVID                   COVID

                            2022                82.99%              34 of 53

                            2023                70.48%              44 of 53



       260. Application processing timeliness is also evaluated with state-reported Quality Con-

trol (QC) data, which is based on more detailed case records from a subset of applications. This

QC data is compiled by state employees who are sequestered from other DHS employees, subject

to a regression analysis, and, importantly, is subject to audit by FNS who can re-sample.

       261. Though flawed itself, DHS’s state-reported QC data, which is subject to audit by

FNS, shows much lower APT rates than its self-reported rate, which is not.

       262.   DHS systematically fails to provide eligible applicants with an “opportunity to par-

ticipate” by delivering a loaded EBT card and ready-to-use PIN within 30 days of application, as

required by federal law. 7 C.F.R. § 274.2(b).

       263. Even though processing and approval of applications often exceeds 30 days, a DHS

spokesperson has acknowledged that, once a household is approved, the agency takes up to 15

additional business days (three weeks) to deliver the card and PIN to the household.




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       264. In a March 20, 2024 email, DHS Legislative Liaison Mary Dobbs told a SNAP re-

cipient who had been approved to “allow up to 15 business days from this date for the customer to

receive the card.” (emphasis added).

       265. DHS systemically fails to mail active, loaded EBT cards with a PIN ready to use by

the 28th day or 27th day from the submission of a normal SNAP application by a household that

DHS determines eligible.

       266.    For example, Plaintiff Candace Pegues received benefits on her EBT card 38 days

after her December 19, 2023 application.

       267. DHS systemically fails to provide households who initially apply and who are eligi-

ble for expedited status with an opportunity to participate within seven days.

       268. DHS routinely fails to screen and identify SNAP applicants at the time of application

for eligibility for expedited processing.

       269. Plaintiff Tamika Davis stated that she was homeless on her SNAP application and

yet was not screened (much less approved) for SNAP within seven days of her application.

       270. DHS systemically fails to mail active, loaded EBT cards with a PIN ready to use by

the fourth day following the submission of an application by a household who is eligible for expe-

dited processing.

       271. DHS systematically fails to provide recertification households benefits if the house-

hold submits an application by the 15th day of the month their SNAP benefits expire.

       272. DHS systematically fails to send timely Notices of Expiration to households that

need to recertify their eligibility for the Program, resulting in eligible households losing benefits

during the processing of their recertification applications.




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         273. DHS’s failure to send required notices was previously documented. In a report is-

sued by the USDA to DHS in 2021, the USDA stated that it “was unable to verify if applicable

notices were issued to the household.”

         274.   DHS has routinely failed to schedule interviews on time to meet processing dead-

lines.

         275.   Individuals have reported interviews being scheduled several weeks or even months

after an application.

         276. And while DHS’s self-reported APT rate is poor on its face, the actual timeliness

rate for application processing is worse than the numbers suggest, because the agency has taken

unlawful shortcuts to try to obscure the extent of its noncompliance. Through such shortcuts, the

agency has purported to show it has reduced the backlog of application delays, when it has actually

failed to correct DHS’s chronic noncompliance.

         277. One unlawful shortcut that DHS employs to try to reduce its backlog of applications

involves its manipulation of the requirement that applicants participate in an interview as part of

the eligibility determination process. 7 C.F.R. § 273.2(a)(2). DHS makes it impossible for appli-

cants to complete the interview process by failing to provide sufficient advance notice of the in-

terview, then uses that failure to deny benefits for “refusal to cooperate” with the agency in deter-

mining their eligibility. The practice flouts a federal prohibition against denying eligibility for

refusal to cooperate without having first made a finding that a missed interview was the result of

the applicant’s refusal rather than mere failure to comply. 7 C.F.R. § 273.2(d)(1).

         278.   DHS’s misuse or misrepresentation of missed interviews to deny eligibility for re-

fusal to cooperate takes several forms. DHS unilaterally schedules interviews and purports to mail

advance notice to applicants informing them when to expect a call for their telephone interview.



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In practice, DHS terminates individuals for failing to participate in an interview when DHS staff

did not make the interview calls at all, provide any advanced Notice of Appointment or Interview,

give sufficient advanced notice of an interview to reasonably enable an applicant to attend the

scheduled appointment, or determine whether the individual was actually refusing to cooperate or

merely missed the appointment.

       279. At a January 24, 2024 legislative committee hearing, DHS Assistant Commissioner

Callon Schmid acknowledged that a number of individuals had not received interviews during the

scheduled times because of various issues including other interviews taking too long and because

DHS’s call system erroneously showed that a call had occurred when it had not. Although DHS

officials represented that those problems had been corrected, the same systemic problems have

persisted since their testimony on January 24, 2024.

       280. Further, aside from failing to call applicants and participants for their interviews,

DHS fails to provide any notice or sufficient advanced notice of the interview to many applicants

and enrollees. Federal law requires that, in scheduling interviews, DHS accommodate applicants’

work schedules to the extent practicable, but DHS makes no pretense of doing so, simply sched-

uling telephone interviews unilaterally and requiring individuals to be available for the agency’s

call. 7 C.F.R. § 273.2(e)(3).

       281. Many times, DHS does not provide any Notice of Appointment and Interview. In a

2021 report, USDA found that the Notice of Appointment and Interview was missing from 29 of

85 (34%) of DHS SNAP cases that the federal agency reviewed.

       282. Problems persist when the agency does send Notices of Appointment and Interview.

DHS officials have been aware that their agency’s automated eligibility system lacks elementary

programming safeguards that would compare dates a notice is issued with dates of scheduled



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interviews, to ensure that households receive adequate notice in advance. DHS’s system even per-

mits the issuance of notices after the appointment has already passed. For example, DHS issued a

Notice dated March 8, 2024, for a scheduled interview on the preceding day, March 7, 2024.




       283. In instances when DHS does send a Notice of Appointment for an interview, it often

mails the notice one day or two days before a scheduled interview, which does not leave enough

time for the United States Postal Service to deliver the notice to the individual before the interview.

For example, as shown in the screenshot below, DHS sent a Notice of Appointment for an inter-

view on April 8, 2024 for a 10:30 a.m. CT interview on April 9, 2024.




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       284. As another example, DHS sent one SNAP applicant a Notice of Appointment for an

interview scheduled at 8:00 a.m. CT on June 14, 2024 on June 12, 2024.

       285. In cases where an applicant or participant misses an interview, DHS is required to

send a Notice of Missed Interview describing how the household can still meet the interview re-

quirement to qualify for benefits. 7 C.F.R. § 273.2(e)(3). But in the same 2021 report, USDA

reviewers determined that the Notice of Missed Interview was missing from 5 of 85 (6%) of cases

reviewed. This practice continues today.

       286. To reduce the application backlog on paper, DHS has also scheduled interviews in

bulk knowing that the practice would result in a substantial number of terminations. When De-

fendant Carter and other DHS officials were called to specially testify before the Tennessee Senate

Health and Welfare Committee on January 24, 2024 about DHS’s SNAP administration problems,

DHS stated it had a “pretty significant application backlog” (22:24 of 54:45) with 35,000 applica-

tions that were older than 30 days (25:46-25:59 of 54:45)—roughly equivalent to the entire popu-

lation of Cookeville, Tennessee (population 34,842).




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       287. In the Committee testimony, a DHS official stated it planned on “executing 35,000

interviews” the week of January 22 to January 26, 2024 (29:07 to 29:49 of 54:45) (32:59) and had

completed 14,500 as of the night of January 23, 2024 (30:00 of 54:45) (emphasis added). DHS

officials completed these calls despite acknowledging that: a “common problem that [DHS] is

seeing is missed interviews” (28:06 of 54:45), DHS often failed to call individuals within the time

it said it would (e.g., due to inability to finish other interviews during the scheduled time), and

DHS’s records erroneously showing that it had placed interview calls that were never received. It

made the calls without confirming that those known defects had been corrected.

       288. DHS stated that it had roughly 1,400 DHS employees who were actively working

the application delay problem (41:48 of 54:45) and indicated that an interview typically lasts “on

a good day” between 30 and 45 minutes (42:04 of 54:45, 50:00 of 54:45).

       289. Based on the call volume, the average length of a completed call, and short time

span in which they were made, DHS anticipated that a substantial portion of these interviews would

be missed—ultimately leading to denials or terminations that would reduce the application backlog

on paper.

       290. As of January 22, 2024, when the 35,000 calls took place, DHS’s own records show

that the no show rate for eligibility phone interviews for applicants was 42%.

       291. Indeed, in a response to a public records request, DHS indicated that “Failed to Keep

Application Appointment” or interview was the top reason for SNAP application denials—ac-

counting for 83,343 denials or 24.75% of all denials from January 1, 2024 to October 8, 2024.

       292. However, DHS’s attempt to reduce the backlog has been short-lived. Because many

individuals who were denied for missing an interview will reapply and are eligible, this apparent




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reduction in the backlog has been temporary. And those who were denied are permanently de-

prived of benefits for the period between their denial and their reapplication.

        293. DHS routinely terminates or denies individuals without assessing whether a missed

interview is the result of a household’s refusal to comply or mere failure to comply—including

the 35,000 individuals called for interviews in January 2024. Indeed, “Failed to Keep Application

Appointment,” which DHS disclosed as the top reason for SNAP application denials from January

1, 2024 to October 8, 2024, contains no reference to a finding of an individual’s refusal to coop-

erate or participate with application process.

        294.    DHS incorrectly terminated or denied Plaintiffs Bull, Gugliemelli, Ominyi, and

Hubbard, among others on the basis that they failed to cooperate with DHS without assessing

whether the household members actually refused to comply.

        295. Another shortcut that DHS takes is with verifications. DHS is required to give ap-

plicants and enrollees at least 10 days to submit requested verification of eligibility, but has con-

sistently failed to do this for applicants and participants.

        296. In the report issued by the USDA to DHS in 2021, the USDA stated that DHS “failed

to allow 10 days for the client to provide requested verification” as one of its findings. The con-

clusion was supported by evidence that DHS failed to allow 10 days for households to provide

verifications in 28 of 85 (33%) of cases reviewed.

        297.   The failures cited by USDA in the 2021 report continue today.

        298. For example, DHS provided Plaintiff Trista Hubbard with eight days to return re-

quested verifications and then terminated her. DHS gave Ms. Hubbard a January 16, 2024 deadline

to submit verifications through a Request for Verification issued January 8, 2024 and subsequently

terminated her for failure to submit those verifications on time.



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          299. Part of the reason why DHS has given applicants less than 10 days to submit verifi-

cations is because the agency lacks the capacity to timely review and process verifications once it

receives them. In a May 15, 2024 e-mail from DHS Legislative Liaison Mary Dobbs to an advocate

for a SNAP Applicant, Ms. Dobbs acknowledged that once a verification is received by DHS, it

takes 10-15 days for it to be reviewed and processed.

          300. Regardless of the reason, DHS’s inability to process verifications on time impairs

its overall ability to timely process applications.

          301. Thus, DHS’s failure to allow households at least 10 days to verify their eligibility

not only allows the agency to obscure its inability to timely process applications, it also results in

wrongful denials of eligibility—based on inaccurate findings that households have failed to timely

respond to requests for verification.

          302. For example, Ms. Hubbard and her family were incorrectly terminated from SNAP

based on DHS’s contention that she and her family failed to timely respond to requests for verifi-

cation.

          303.   Plaintiffs Bull, Gugliemelli, and Tapia also were also incorrectly terminated or de-

nied for failing to submit verifications that they did in fact submit.

          304. As a result of DHS’s delays in processing normal applications, expedited applica-

tions, recertification applications, and verifications, individuals have experienced gaps in their

benefits—in many cases due to no fault of the applicant.

          305. Because of delays with DHS’s SNAP application processing, individuals like Can-

dace Pegues and Tamika Davis have been and continue to be harmed. SNAP applicants and en-

rollees, like Plaintiffs Pegues and Davis, have gone hungry, had to forgo meals, had to rely on




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friends and family for food assistance, have devoted money allocated for other expenses to pay for

food, fell behind on rent, utilities and other expenses, or had their credit and finances suffer.


                               Application Delay Class - Numerosity

        306. The Application Delay Class is so numerous that joinder is not possible. Further, the

class includes individuals who will apply or recertify for SNAP in the future, making joinder im-

practical.

        307. As set forth above, the class includes thousands of individuals by DHS’s own rec-

ords. As referenced above, DHS has reported to USDA that, between April 1 and June 30, 2024,

DHS had 22,882 overdue initial normal applications, 20,124 overdue initial expedited applications,

and 27,989 overdue recertification applications, that were eventually approved for SNAP benefits.

        308. Between July 1 and September 30, 2024, DHS had 8,576 overdue initial normal

applications, 7,363 overdue initial expedited applications, and 4,351 overdue normal and expedited

recertifications.

                    Application Delay Class – Common Questions of Law or Fact

        309. There are common questions of law and fact concerning whether the failures in

Defendant’s administration of SNAP deprived class members timely access to SNAP benefits.

These include:

        a)       whether Defendant fails to timely process initial applications within the applicable
                 legal time limits;

        b)       whether Defendant fails to timely provide Notices of Expiration and recertification
                 applications;

        c)       whether Defendant fails to timely process recertification applications;

        d)       whether Defendant fails to call individuals for scheduled interviews;

        e)       whether Defendant fails to timely send, or to send at all, notice of a required Ap-
                 pointment or Interview to applicants;

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       f)      whether Defendant fails to assess whether application delays are the fault of the
               agency or the household;

       g)      whether Defendant provides applicants with at least 10 days to return requested
               verifications;

       h)      whether classwide declaratory relief is appropriate to remedy Plaintiffs’ injuries:
               and

       i)      whether classwide injunctive relief is appropriate to remedy Plaintiffs’ injuries.

                         Application Delay Class – Typicality of Claims

       310. Plaintiffs Pegues and Davis are appropriate class representatives because their

claims are typical of the class claims. Like the absent class members, Plaintiffs’ SNAP applications

were not timely processed.

              Application Delay Class – Fair and Adequate Representation of Class

       311. There are no conflicts of interest among Class members.

       312. The Tennessee Justice Center, Hogan Lovells, DLA Piper, and MAZON will pro-

vide adequate class representation for the Application Delay Class. The undersigned attorneys are

experienced in class action litigation involving violations by state agencies of federal law and the

Constitution in the agencies’ administration of public benefits.

       313. For example, attorneys for the Tennessee Justice Center successfully obtained a

class action ruling in a class action seeking injunctive and declaratory relief against TennCare

concerning its redetermination process and have extensive history litigating class actions involving

public benefits. A.M.C. v. Smith, 3:20-cv-240, 2024 U.S. Dist. LEXIS 152563 (M.D. Tenn. Aug.

26, 2024). The case is ongoing.

       314. Hogan Lovells is one of the largest law firms in the world. Desmond Hogan who

leads the Hogan Lovells team in this action has extensive litigation experience in class actions and

multidistrict litigation. He has served as lead counsel or co-lead counsel in scores of class

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actions. These include the dozens of class actions comprising the following Multi-District Litiga-

tions: In re Multiplan Health Insurance Provider Litigation, (MDL-3121); In re Uber Technolo-

gies, Inc., Data Security Breach Litigation (MDL-2826); In re Anthem, Inc. Data Breach Litiga-

tion (MDL-2617); In Re Blue Cross Blue Shield Antitrust Litigation (MDL-2406); and In re Well-

point, Inc., Out-Of-Network UCR Rates Litigation (MDL-2074) No. 2:09-ml-02074 (C.D. Cal.

2016). He has served as lead Plaintiffs’ counsel in numerous class actions and other pro bono

matters, including Moore v. Secretary of the Department of Homeland Security (D.D.C., 00-cv-

095) (settled in 2017 with payment of nearly $25,000,000 to class and comprehensive injunctive

relief); McCollum, et al. v. Roberson County, et al. (E.D.N.C., 15-cv-451) (winning $75,000,000

trial verdict for two intellectually disabled, wrongfully convicted men who spent 31 years in

prison, mostly on death row, for a crime they did not commit); and Gartrell v. Ashcroft (D.D.C.

01-cv-1895) (winning nationwide injunction to protect the religious freedom of class members).

       315. Hogan Lovells has substantial experience litigating access to benefits cases and pre-

viously litigated a class action asserting claims very similar to those asserted in the current litiga-

tion. See Shonice G. Garnett, et al. v. Laura Zeilinger, No. 1:17-cv-01757-CRC (D.D.C. 2018).

As class counsel in Zeilinger, Hogan Lovells conducted an extensive investigation and engaged in

thorough discovery and motions practice.

       316. DLA Piper is also one of the world’s largest law firms. Whitney Cloud who leads

the DLA Piper team in this matter has substantial experience in litigating class actions and other

mass litigation in federal and state courts across the United States, including: In re Generic Phar-

maceuticals Pricing Antitrust Litig., No. 2:16-md-02724-CMR (E.D. Pa. 2016); Abdelghany v. S.

Cal. Edison Co., No. 30-2021-01195715-CU-MT-CXC (Cal. Sup. Ct. 2021); In re Hotel TVPRA




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Litig., No. 2:22-cv-3845 (S.D. Ohio 2021); A.W. v. Red Roof Inns, Inc., et al., 2:21-cv-4934 (S.D.

Ohio 2021); and Upsolve, Inc. v. Letitia James, No. 1:22-cv-627-PAC (S.D.N.Y. 2022).

       317. DLA Piper has substantial experience litigating access to benefits cases and previ-

ously litigated a class action asserting claims very similar to those asserted in the current litiga-

tion. See Kamkoff v. Hedberg, No. 3:23-cv-00044-SLG (D. Ak.). As class counsel in Kamkoff,

DLA Piper has assisted in substantially all aspects of the case including motions practice.

       318. Sarah Pratter, Director of Legal Advocacy, and MAZON have extensive substantive

knowledge related to SNAP and public benefits. MAZON has filed and participated in numerous

amicus curiae briefs related to SNAP and public benefit policy. These include: Veterans Justice

Group, LLC v. Secretary of Veterans Affairs, 818 F.3d. 1336 (2016) (veteran SNAP access); La

Clinica de la Raza v. Trump, 477 F.Supp.3d 951 (N.D. Cal. 2020) (and five other federal court

litigations speaking to effect of public charge rule on older adults), District of Columbia v. United

States Dep’t of Agric., 1:2020-cv-00119 (D.D.C. 2020) (challenging changes to statutory provi-

sions on discretionary exemptions in the USDA final Rule at issue), among others.

       319. As evidenced by the detailed Complaint and supporting materials, Plaintiffs’ counsel

have conducted extensive research in identifying and investigating potential claims in the action.

Plaintiffs’ counsel also represent that they have sufficient resources to litigate the case to finality

and to devote to expenses associated with litigation, including costs relating to discovery, tran-

scripts, and any expert proffered.

   Application Delay Class – Appropriateness of Classwide Declaratory and Injunctive Relief

       320. Classwide declaratory and injunctive relief are appropriate because Defendant has

acted on grounds applicable to the class as a whole. Each Plaintiff and member of the class is

subject to DHS’s eligibility processing system process. In addition to being subject to the same



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procedures for initial applications, each Plaintiff and member of the class who receives benefits

must have their eligibility recertified regularly. The default length of certification period in Ten-

nessee is six months, meaning that most households go through recertification twice per year. And

while individuals who are disabled or elderly have a longer certification time (up to two years),

they must still go through DHS’s eligibility determination process again, for as long as they par-

ticipate in the Program.

                            APPEAL DELAY CLASS ALLEGATIONS

                                   Appeal Delay Class - Definition

        321. Plaintiffs seek certification of an “Appeal Delay Class,” consisting of:

        “all Tennessee residents who since November 10, 2023 have filed an appeal, are
        filing an appeal, or will file an appeal for SNAP benefits through DHS’s
        administrative process and have not or will not receive an eligibility determination
        within the legally required timeframes. This definition specifically excludes those
        who voluntarily withdrew an appeal within 60 days of filing an appeal or who
        successfully sought a continuance of a fair hearing scheduled within 60 days of
        the filing of an appeal.”

       322.    Plaintiffs Bull, Colbert, Desjardins, Gugliemelli, Hubbard, Maddox, Ominyi, and

Tapia will represent the Appeal Delay Class.

                           Appeals Delay Class – General Class Allegations

       323.    Thousands of Tennesseans appeal a DHS decision about SNAP every month. In a

May 3, 2024 e-mail, DHS Assistant Commissioner Callon Schmid indicated that DHS received

the following number of appeals per month:

                                Month                    Number of Appeals

                              June 2023                          2,534

                              July 2023                          3,448




                                                 60

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                           August 2023                         3,805

                          September 2023                       2,677

                           October 2023                        1,833

                          November 2023                        2,420

                          December 2023                        2,202

                           January 2024                        3,959

                          February 2024                        4,248

                           March 2024                          2,687



       324.    DHS systematically fails to issue written decisions from fair hearings within 60

days of the request for a fair hearing or within 60 days plus any additional days of postponement

requested by the household.

       325.    From January to March 2024, DHS had 6,384 overdue written decisions from

SNAP administrative appeals.

       326.    From April to June 2024, DHS had 11,244 overdue written decisions from SNAP

administrative appeals.

       327.    From July 1 to September 30, 2024, DHS had 7,437 overdue written decisions from

SNAP administrative appeals.

       328.    DHS own data shows that for fair hearings that took place between June 1, 2024

and October 14, 2024, the total average days to disposition for these appeals was 137.8 days.

       329.    DHS is unable to reduce its appeal delays because it is receiving significantly more

appeals than it schedules fair hearings to resolve. During the same period, July 1 to September 30,




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2024, applicants or enrollees requested 9,495 fair hearings, but DHS was able to hold only 4,238

hearings despite only 1,476 appeal withdrawals.

        330.    In May 2024, DHS stated that the current time for an appeal with DHS from a

request for a fair hearing to a written decision, including SNAP appeals, was 129 days (4

months/120 days plus 7 business days/9 calendar days). In May 2024, DHS reported for all DHS

appeals, not just SNAP, including those that are resolved prior to hearing, the average amount of

time from a request for fair hearing to is 94 days. (emphasis added).

        331.    In an email on May 3, 2024, DHS Assistant Commissioner for External Affairs

Callon Schmid stated the following:

        The current, average amount of time for all appeals (not just SNAP) to be processed
        (filing date to closing date) is 94 days. The average includes all types of appeals
        that are not accepted, not timely filed, and resolved prior to the hearing. On aver-
        age, the timeframe for an appeal that is filed and proceeds to hearing is four
        months. Once heard, the Administrative Judges typically issue a decision within
        seven business days of the hearing.

 (emphasis added).

        332.    On October 3, 2024, DHS Senior Policy Advisor Suzanne Carr responded on behalf

of the agency to a list of questions from the Tennessee Justice Center to DHS and stated, “For

appeals closed between 8/1/2024 and 9/17/2024, the average time from appeal filing date to closure

was 106 (105.6 actual calculation) days.” (emphasis added)




        333.    From June 1, 2024 to October 14, 2024, 722 individuals did not receive disposi-

tions on their SNAP appeals after 150 days after requesting a fair hearing.




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        334.    Plaintiff Trista Hubbard, received a written decision remanding her case back to the

agency based on admitted errors DHS made in her application process and that resulted in her being

awarded over $3,300 in back SNAP benefits, 166 days after her initial appeal.

        335.    Plaintiff Kathryn Colbert filed an appeal on June 12, 2024. Her appeal was first

scheduled for hearing 146 days after the appeal was filed.

        336.    Plaintiff Brandi Tapia had to wait over 135 days for a hearing to be scheduled on

an appeal in which DHS’s Notice of Hearing packet contained a screenshot of the verification that

DHS said she had failed to provide.

        337.    Plaintiffs have ongoing appeals at the time of the filing of this action that have gone

well beyond the 60 day period to receive a written decision. Plaintiff Missaes Desjardins has an

ongoing appeal that was filed on October 1, 2024 that as of the filing of this lawsuit has not been

scheduled for a fair hearing, much less received a written decision. Likewise, Plaintiff Bull filed

an appeal on November 7, 2024 that as of the filing of this lawsuit has not been scheduled for a fair

hearing, much less received a written decision.

        338.    The delays in receiving timely written decisions on appeals have caused and con-

tinue to cause harm to Plaintiffs.

        339.    For example, as a result of the appeal delay and DHS’s processing errors, Ms. Hub-

bard fell behind on her mortgage. She had to spend money for food that would have been covered

by SNAP that would otherwise go to her mortgage payment. When she fell behind on her mortgage,

the bank initiated foreclosure proceedings, which, in turn, resulted in Ms. Hubbard having to file

for bankruptcy to preserve her home, damaging her credit in the process.

        340.     DHS’s wrongful denial of Ms. Tapia’s SNAP benefits caused her to be

evicted. Because of the delay in processing her appeal, Ms. Tapia had to spend money on food for



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her son or pay rent. She chose to feed her son and was evicted for failure to make timely rent

payments. As a result, Ms. Tapia’s credit has suffered and her financial condition has gotten worse.

        341.    While an appellant with existing benefits may request continuation of benefits dur-

ing the pendency of an appeal, this stopgap is largely illusory.

        a.       First, continuation of benefits is not available for initial applications (normal or

expedited) at all.

        b.       Second, there are significant deterrents to requesting continuation of benefits for

appellants who receive SNAP benefits at the time of the appeal. DHS actively seeks recovery of

the monetary value of continued benefits if the individual loses. The longer DHS takes to resolve

an appeal, the more an appellant has to worry that, if they continue to pursue the appeal and accept

benefits during its pendency, the more they will owe if DHS rules against them. Ms. Maddox is

one such Plaintiff. As appeal resolutions are delayed, the amount of money potentially at risk for

individuals to owe DHS following an appeal increases significantly and can be double the amount

at stake under normal appeal processing.

        c.       Third, the risk of erroneously losing and being forced to repay continuation of

benefits during an appeal is increased because DHS does not provide advanced notices with ade-

quate reasons listing the basis for termination or denial. Further DHS discourages individuals from

applying for continuation of benefits by requiring appellants to “opt-in” to receive continuation of

benefits, when DHS is actually required to allow appellants to “opt-out” of continuation of bene-

fits, see 7 C.F.R. § 273.15(k).

        342.    While Plaintiffs ultimately seek an efficient and lawful appeals process that is

timely regardless of whether they prevail or not, a significant number of appeals subject to DHS’s

appeals delay are meritorious appeals where DHS’s adverse decision was reversed. Plaintiffs



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Colbert, Gugliemelli, Hubbard, Tapia, all had meritorious appeals that were decided or disposed

of in their favor well after the 60 day deadline for written decision. Plaintiffs Colbert and Hubbard

received over $4,000 and $3,000 in back SNAP benefits respectively from meritorious appeals

that were significantly delayed.

       343.    Because a significant portion of DHS’s eligibility determination are erroneous,

SNAP appellants have a significant likelihood of having to file another appeal in the future.

       344.        For example, DHS reported that between April and June 2024, 20% of appeals that

resulted in a written decision reversed the original agency decision. In 2020, over 29% of appeals

that resulted in a written decision reversed the original agency decision.

       345.    Aside from processing, DHS’s appeals process also contains misleading notices.

DHS sends the same notice to every Appeals Delay class member (and to every SNAP applicant

who receives a Notice of Decision) (“Yellow Notice”). Every Notice of Decision of adverse action

contains a standardized appeal notice on yellow paper that purports to inform households of the

right to appeal.

       346.    However, the Yellow Notice misrepresents that appeals “can take up to 2 months”

when DHS officials are well aware that they take far longer than that. And nowhere does the notice

contain the vital information that the “household’s right to request a fair hearing” includes the right

under federal law to receive a prompt written decision on their appeal (within 60 days). 7 C.F.R.

§ 273.15(c). The Yellow Notice states (in relevant part):




                                                  65

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         347.   The link to the referenced DHS controlled subpage, https://www.tn.gov/human-

services/division-ofappeals-and-hearings.html, likewise contains no reference to the individual’s

right to receive a written decision on their appeal within 60 days.

         348.   DHS is in possession and control of all relevant records.

                                     Appeal Delay Class - Numerosity

         349.   The Appeal Delay Class is so numerous that joinder is not possible. Further, the

class includes individuals who will appeal an adverse action by DHS in the future, making joinder

impractical.

         350.   As referenced above, the Appeals Delay Class includes thousands of individuals.

From April to June 2024 alone, DHS had 11,244 overdue written decisions from SNAP adminis-

trative appeals.

                         Appeal Delay Class – Common Questions of Law or Fact

         351.   There are questions of fact and law that are common to Class members. Those in-

clude:

         a)     whether Defendant fails to process appeals promptly and within 60 days;

         b)     whether Defendant fails to issue written decisions for individuals who request fair
                hearings within 60 days;

         c)     whether the failures in Defendant’s administration of SNAP appeals delay mem-
                bers’ access to benefits.

         d)     whether Defendant’s appeals notice fails to inform class members of their right to
                a decision within 60 days;

         e)     whether Defendant’s failure to timely process appeals harms unsuccessful appel-
                lants who request continuation of benefits by increasing their liability for repayment
                of benefits beyond the amount for which they would be liable if Defendant rendered
                a timely decision;



                                                 66

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        f)        whether classwide declaratory relief is appropriate to remedy Plaintiffs’ injuries;
                  and

        g)        whether classwide injunctive relief is appropriate to remedy Plaintiffs’ injuries.

                              Appeal Delay Class – Typicality of Claims

        352.      Plaintiffs Bull, Colbert, Desjardins, Gugliemelli, Hubbard, Maddox, Ominyi, and

Tapia are appropriate class representatives because their claims are typical of the class claims.

Like the absent class members, the Plaintiffs’ SNAP appeals were not timely processed and they

did not receive written decisions on their appeals within 60 days.

                       Appeal Delay Class – Fair and Adequate Representation of Class

        353.      There are no conflicts of interest among Class members. As alleged above, the

named Plaintiffs have legal representation capable of fairly and adequately representing the inter-

ests of the Class.

             Appeal Delay Class – Appropriateness of Classwide Declaratory and Injunctive Relief

        354.      Class-wide declaratory and injunctive relief are appropriate because Defendant has

acted on grounds applicable to the class as a whole. Each Plaintiff and member of the class is

subject to DHS’s delayed appeals process, which harms them regardless of whether their appeals

succeed or not.

                 RESTORATION OF LOST BENEFITS CLASS ALLEGATIONS

                               Restoration of Benefits Class - Definition

        355.      Plaintiffs seek certification of a “Restoration of Lost Benefits Class,” consisting of:

                  “all Tennessee residents who since January 10, 2024, and within one year
                  of an action by DHS adversely affecting their SNAP benefits, requested or
                  will request restoration of SNAP benefits from DHS but were or will be
                  denied a hearing because the request for restoration was or will be made
                  more than 90 days after their loss of benefits.”

         356. Plaintiff Jacques will represent the Restoration of Benefits Class.

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                       Restoration of Benefits Class – General Class Allegations

       357.    Under federal law, DHS is required to grant fair hearings to individuals who have

lost benefits and consider untimely requests for hearings as requests for restoration of lost benefits

up to a year after the adverse action. See 7 C.F.R. § 273.15(j)(1); 7 C.F.R. § 273.17.

       358.    But DHS systematically does not do this. The agency does not grant hearings to

individuals who request them after 90 days of an adverse action by DHS or treat untimely requests

for hearings as requests for restoration of lost benefits.

       359.    Based on DHS’s own data, at least 150 requests for fair hearings were closed as

untimely between June 1, 2024 and October 14, 2024.

       360.    Further, from July to September 2024, 9,495 fair hearings were requested from

DHS, yet DHS only conducted 4,248 during the same period—meaning that requested hearings

during this period were either denied or delayed.

       361.    DHS data elsewhere shows that 4,993 appeals that went to hearing between June 1,

2024 and October 14, 2024 had a disposition date above 60 days.

       362.    Similarly, from April to June 2024, 7,340 fair hearings were requested but DHS

only held 3,280 hearings—meaning that requested hearings during this period were either denied

or delayed.

                              Restoration of Lost Benefits Class - Numerosity

       363.    The Restoration of Lost Benefits Class is so numerous that joinder is not possible.

Further, the class includes individuals who will seek restoration of lost benefits to DHS in the

future, making joinder impractical.




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       364.    The Restoration of Lost Benefits Class includes hundreds of individuals if not more.

Based on DHS’s own data, 150 requests for fair hearings were closed as untimely between June 1,

2024 and October 14, 2024.

       365.    Further, from July to September 2024, 9,495 fair hearings were requested from

DHS, yet DHS only conducted 4,248 during the same period—meaning that requested hearings

during this period were either denied, delayed, or resolved administratively.

       366.    Similarly, from April to June 2024, 7,340 fair hearings were requested but DHS

only held 3,280 hearings—meaning that requested hearings during this period were either denied,

delayed, or administratively resolved.

                Restoration of Lost Benefits Class – Common Questions of Law or Fact

       367.    There are questions of fact and law that are common to the Class members. Those

include:

       a) whether Defendant treats untimely requests for hearings as requests for restoration of
          lost benefits;

       b) whether Defendant systematically denies fair hearings to individuals who submit an
          appeal 90 days after an adverse event;

       c) whether Defendant’s denial of fair hearings to individuals who allege an underissuance
          or denial of SNAP benefits has harmed the individuals;

       d) whether Defendant conducts inquiries as to whether the state agency is at fault for pur-
          poses of restoring lost benefits;

       e) whether classwide declaratory relief is appropriate to remedy Plaintiffs’ injuries; and

       f) whether classwide injunctive relief is appropriate to remedy Plaintiffs’ injuries.


                    Restoration of Lost Benefits Class – Typicality of Claims

       368.    Plaintiff Jacques is an appropriate class representative because her claim is typical

of the class claims. Like the absent class members, Ms. Jacques submitted an appeal for an


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underissuance or denial of SNAP benefits after 90 days, and despite a request for a hearing, was

denied a hearing on her lost benefits by DHS.

              Restoration of Lost Benefits Class – Fair and Adequate Representation of Class

       369.     There are no conflicts of interest among Class members. As stated above, the Class

has legal representation capable of fairly and adequately representing the interests of the Class.

           Restoration of Lost Benefits Class – Appropriateness of Classwide Declaratory and
                                        Injunctive Relief

       370.     Class-wide declaratory and injunctive relief are appropriate because De-

fendant has acted on grounds applicable to the class as a whole. Each Plaintiff and member

of the class is subject to DHS’s delayed appeals process, which harms them regardless of

whether their appeals succeed or not.

                                        CLAIMS FOR RELIEF

                  First Cause of Action – Failure to Timely Process Applications

       371.     Plaintiff Contributor and Application Delay Plaintiffs reallege and incorporate the

allegations set forth in the preceding paragraphs as if fully restated herein.

       372.     Defendant causes Application Delay Plaintiffs and Plaintiff Contributor irreparable

harm by the prevalent failure to process initial and recertification applications for SNAP within

the time frames mandated by federal law, in violation of 7 U.S.C. § 2020(e)(2), (e)(3), (e)(4), and

(e)(9) and implementing regulations, at 7 C.F.R. §§ 273.2(a)(2), (g)(1), (g)(3), (h), (i)(2), (i)(3)(i),

(i)(4), 7 C.F.R. § 273.10(g), 7 C.F.R. § 273.14, and 7 U.S.C. § 2014(a).

       373.     For Application Delay Plaintiffs who DHS finds eligible and Plaintiff Contributor,

Defendant causes irreparable harm by the systemic failure to provide an opportunity to participate

for SNAP by providing a usable EBT card with accessible benefits within the time frames man-

dated by federal law, in violation of 7 U.S.C. § 2020(e)(2), (e)(3), (e)(4), and (e)(9) and

                                                  70

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implementing regulations, at 7 C.F.R. §§ 273.2(a)(2), (g)(1), (g)(3), (h), (i)(2), (i)(3)(i), 7 C.F.R.

§ 273.10(g), 7 C.F.R. § 273.14, and 7 U.S.C. § 2014(a).

        374.    Relief is sought on this claim pursuant to 42 U.S.C. § 1983, which provides a cause

of action to redress the deprivation of their federal statutory rights by persons acting under color

of state law.

         Second Cause of Action – Failure to Timely Issue Fair Hearing Written Decisions

        375.    Appeal Delay Plaintiffs and Plaintiff Contributor reallege and incorporate the alle-

gations set forth in the preceding paragraphs as if fully restated herein.

        376.    The SNAP Act requires that DHS grant a fair hearing and a prompt determination

thereafter to any household aggrieved by the action of the State under any provision of its plan of

operation. 7 U.S.C. § 2020(e)(10); 7 U.S.C. § 2020(e)(2). Under the SNAP Act and implementing

regulations, DHS is required to issue written decisions following fair hearing requests within 60

days of the request. 7 U.S.C. § 2020(e)(10); 7 C.F.R. § 273.15(c)(1); see also, 7 U.S.C. §

2020(e)(2). A household can request a postponement of a hearing for up to 30 days in which case

DHS’s obligation to provide a written decision extends by the amount of time requested. Id. If the

written decision results in an increase in benefits, DHS is obligated to post the increase within 10

days of receipt of the decision. Id.

        377.    DHS persistently fails to meet these deadlines in violation of 7 U.S.C. §

2020(e)(10); 7 U.S.C. § 2020(e)(2), and their implementing regulations.

        378.    Relief is sought on this claim pursuant to 42 U.S.C. § 1983, which provides a cause

of action to redress the deprivation of their federal statutory rights by persons acting under color

of state law.

         Third Cause of Action – Failure to Provide Adequate Notices - Statutory Due Pro-
                                            cess

                                                 71

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        379.    Appeal Delay Plaintiffs and Plaintiff Contributor reallege and incorporate the alle-

gations set forth in the preceding paragraphs as if fully restated herein.

        380.    By systemically failing to provide timely, understandable notices that afford house-

holds an accurate explanation of the basis for DHS’s adverse actions, and right to a timely fair

hearing, among others, Defendant violates the SNAP Act and its implementing regulations. 7

U.S.C. § 2020(e)(10); 7 C.F.R. §§ 273.10(g), and 273.13(a).

        381.    Relief is sought on this claim pursuant to 42 U.S.C. § 1983, which provides a cause

of action to redress the deprivation of their constitutional rights by persons acting under color of

state law.

 Fourth Cause of Action – Failure to Hold Hearings to Determine the Restoration of Lost
                            Benefits - Statutory Due Process

        382.    Restoration of Lost Benefit Plaintiff realleges and incorporates the allegations set

forth in the preceding paragraphs as if fully restated herein.

        383.    By systemically failing to provide fair hearings to individuals who have filed re-

quests for lost benefits, Defendant violates the SNAP Act and its implementing regulations. 7

U.S.C. § 2020(e)(10); 7 U.S.C. § 2020(e)(11); 7 C.F.R. § 273.15(j)(1); 7 C.F.R. § 273.17.

        384.    Relief is sought on this claim pursuant to 42 U.S.C. § 1983, which provides a cause

of action to redress the deprivation of their constitutional rights by persons acting under color of

state law.

                           Fifth Cause of Action – Constitutional Due Process

        385.    Plaintiffs reallege and incorporate the allegations set forth in the preceding para-

graphs as if fully restated herein.




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       386.     The Due Process Clause of the Fourteenth Amendment of the United States Con-

stitution bars the state from depriving a person of her property, which includes SNAP benefits,

without affording the individual adequate advance notice and a fair opportunity to be heard.

       387.     By the acts and omissions alleged above, Defendant has deprived and continues to

deprive, Plaintiffs of due process of law in violation of the Fourteenth Amendment by:

       a.       Creating a substantial risk of erroneous deprivation of SNAP coverage;

       b.       Failing to provide adequate pre-deprivation notice, an opportunity for a fair
                hearing, an opportunity for a fair hearing at a meaningful time, and timely
                corrective action; and

       c.       Subjecting otherwise eligible individuals to arbitrary denials of benefits and
                fair access to SNAP benefits.

       388.     Relief is sought on this claim pursuant to 42 U.S.C. § 1983, which provides a cause

of action to redress the deprivation of their constitutional rights by persons acting under color of

state law.

                                      REQUEST FOR RELIEF


WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:

       1. Certify the proposed classes referenced above;

       2. Enter declaratory judgment pursuant to 28 U.S.C. § 2201 declaring that Defendant’s

             acts and omissions complained of herein:

               a) Violated the SNAP Act and its implementing regulations by failing to timely

                   process initial applications for SNAP benefits; and failing to issue SNAP bene-

                   fits to those eligible within time frames required by law pursuant to 7 U.S.C. §§

                   2014(a), 2020(e)(3), and implementing regulations, 7 C.F.R. §§ 273.2(a)(2),

                   (g)(9), and 273.10(g)(1);



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         b) Violated the SNAP Act and its implementing regulations by failing to timely

            process those applications for SNAP benefits entitled to expedited processing;

            and failing to issue Expedited SNAP benefits to those eligible within the

            timeframes required by law pursuant to 7 U.S.C. §§ 2014(a), 2020(e)(9), and

            implementing regulations 7 C.F.R. §§ 273.2(a)(2), (i)(2), (i)(3)(i), (i)(4), and

            273.10(g)(1);

         c) Violated the SNAP Act and its implementing regulations by failing to timely

            process recertification applications for SNAP benefits; failing to provide re-

            quired eligibility notices; and failing to issue SNAP benefits to those eligible

            within the time frames required by law pursuant to 7 U.S.C. §§ 2014(a),

            2020(e)(4), and implementing regulations, 7 C.F.R. §§ 273.2(a)(2),

            273.10(g)(2), and 273.14;

         d) Violated the SNAP Act and its implementing regulations by failing to timely

            issue a written decision for administrative appeals filed by applicants and mem-

            bers involving SNAP benefits within the time frames required by law pursuant

            to 7 U.S.C. § 2020(e)(2), (e)(10); 7 C.F.R. § 273.15(c)(1).

         e) Violated the SNAP Act and its implementing regulations by failing to provide

            timely, understandable notices that afford households an accurate explanation of

            the bases for DHS’s adverse actions, whether the household is subject to simpli-

            fied reporting requirements and details about those requirements, and of the

            Plaintiffs’ right to a timely fair hearing, in violation of 7 U.S.C. § 2020(e)(10),

            (e)(23); 7 C.F.R. §§ 273.10(g), 273.12(a) and 273.13;




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          f) Violated the SNAP Act and its implementing regulations by failing to provide

              fair hearings on valid requests for restoration of lost benefits in violation of 7

              U.S.C. § 2020(e)(10); 7 U.S.C. § 2020(e)(11); 7 C.F.R. § 273.15(j)(1); 7 C.F.R.

              § 273.17;

          g) Violated the Due Process Clause of the 14th Amendment to the United States

              Constitution by: creating a substantial risk of erroneous deprivation of SNAP

              coverage; failing to provide adequate pre-deprivation notice, an opportunity for

              a fair hearing, an opportunity for a fair hearing at a meaningful time, and timely

              corrective action; and subjecting otherwise eligible individuals to arbitrary deni-

              als of benefits.

    3. Pursuant to Fed. R. Civ. P. 23 and 65, preliminarily and permanently enjoin Defendant

       as follows:

          a) As to the Application Delay Class and Plaintiff The Contributor, preliminarily

              and permanently enjoin Defendant to:

               i. Send a notice of delay to each class member whose initial or recertification

                     application is not processed timely. The notice should state that the delay in

                     processing the class member’s application is in violation of federal law, that

                     the class member can immediately file a delayed application appeal, and

                     that the class member may have additional remedies under federal Civil

                     Rights laws and may consult an attorney for more information regarding

                     such remedies;

              ii. Submit and, following court-approval, implement a remedial plan to ensure

                     the timely, reliable processing of initial and recertification applications;



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             iii. Submit, for the duration of any preliminary or permanent injunction,

                  monthly reports to Plaintiffs’ counsel containing:

                     1. The number of overdue initial normal applications;

                     2. The number of overdue initial expedited applications;

                     3. The number of overdue recertification applications;

                     4. The SNAP FNS APT rate and supporting data;

                     5. The SNAP State APT rate and supporting data;

                     6. The SNAP APT rate as determined by state-reported QC data;

                     7. The number of timely application decisions, by type of disposition;

                         and

                     8. The number of untimely application decisions, by type of disposi-
                        tion;

             iv. Submit, for the duration of any preliminary or permanent injunction, to

                  monitoring by Plaintiffs’ counsel or a third party monitor appointed by the

                  Court, whose expenses will be borne by or recoverable from the State pur-

                  suant to 42 U.S.C. § 1988. Such monitoring should include review of ran-

                  dom samples of initial and recertification applications and such inspection

                  of SNAP operations and Defendant’s production of information as is rea-

                  sonably required to assess the Defendant’s compliance;

       b) As to the Appeals Delay Class and Plaintiff The Contributor, preliminarily and per-

          manently enjoin Defendant to:

               i. Affirmatively state on its “Yellow Appeal Notice” that an appellant has a

                  right to a written decision within 60 days of filing;




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             ii. Promptly send to class members whose appeals are pending 60 days without

                a decision, a notice stating “DHS is in violation of your right to a timely

                decision under 7 U.S.C. § 2020(e)(2), (e)(10) and implementing federal reg-

                ulations. You may have remedies under federal Civil Rights laws. If you

                want more information regarding your rights and remedies, you should con-

                sult an attorney”;

            iii. Require DHS to allow all appellants to “opt-out” of continuation of benefits

                during the remainder of the certification period, see 7 C.F.R. § 273.15(k),

                rather than requiring them to “opt-in” in order to receive continuation of

                benefits;

            iv. Submit, for the duration of any preliminary or permanent injunction,

                monthly reports to Plaintiffs’ counsel containing:

                     1. The number of SNAP appeals requested;

                     2. The number of SNAP hearings held;

                     3. The number of SNAP decisions overdue; and

                     4. The number of SNAP appeals by type of disposition;

             v. Submit and, upon court approval, implement a remedial plan to ensure the

                timely issuance of written decisions on SNAP appeals and prompt imple-

                mentation of decisions in appellants’ favor; and

            vi. Submit, for the duration of any preliminary or permanent injunction, to

                monitoring by Plaintiffs’ counsel or a third party monitor appointed by the

                Court, whose expenses will be borne by or recoverable from the State pur-

                suant to 42 U.S.C. § 1988, in which random samples of SNAP appeals will



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                  be provided on site or otherwise to the third party monitor to review for

                  timeliness. Such monitoring should include review of random samples of

                  SNAP appeals and such inspection of SNAP operations and Defendant’s

                  production of information as is reasonably required to assess the Defend-

                  ant’s compliance.

       c) As to the Restoration of Lost Benefits Class, preliminarily and permanently enjoin

          Defendant to:

               i. Require Defendant to hold a fair hearing for anyone who submits an appeal

                  after 90 days of an adverse action by Defendant but within 1 year; and

              ii. Submit, for the duration of any preliminary or permanent injunction, to

                  monitoring by Plaintiffs’ counsel or a third party monitor appointed by the

                  Court, whose expenses will be borne by or recoverable from the State pur-

                  suant to 42 U.S.C. § 1988, a monthly report containing the list of SNAP

                  applicants or enrollees whom DHS has denied fair hearings; and

       d) Award Plaintiffs litigation costs and reasonable attorneys’ fees pursuant to 42

          U.S.C. § 1988; and

       e) Grant such other, further, or different relief as this Court may deem just and proper.




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Submitted on: January 9, 2025


                                                 Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served via

original process consistent with the Federal Rules of Civil Procedure and this Court’s Local Rules.



                                              /s/              Brant Harrell
                                                               Brant Harrell
                                                     On behalf of Counsel for Plaintiffs




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